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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                )
In re:                                                          ) Chapter 11
                                                                )
HORNBLOWER HOLDINGS LLC, et al., 1                              ) Case No. 24-90061 (MI)
                                                                )
                          Debtors.                              ) (Jointly Administered)
                                                                )

            GLOBAL NOTES AND STATEMENTS OF LIMITATIONS,
    METHODOLOGY, AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES
    OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                 Introduction

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements” and, together with the Schedules,
the “Schedules and Statements”) filed by Hornblower Holdings LLC and certain of its affiliates,
as debtors and debtors in possession (collectively, the “Debtors”) in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”), were prepared in
accordance with section 521 of title 11 of the United States Code (the “Bankruptcy Code”), rule
1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 1007-1
of the Bankruptcy Local Rules for the Southern District of Texas by management of the Debtors,
with the assistance of the Debtors’ professional advisors, and are unaudited.

        The Schedules and Statements have been signed by Jonathan Hickman, Chief
Restructuring Officer of the Debtors. Mr. Hickman has not (nor could have) personally verified
the accuracy of each such statement and representation, including, for example, statements and
representations concerning amounts owed to creditors, classification of such amounts, and their
addresses. In addition, Mr. Hickman has not (nor could have) personally verified the
completeness of the Schedules and Statements, nor the accuracy of any information contained
therein. In reviewing and signing the Schedules and Statements, Mr. Hickman necessarily relied
upon various personnel of the Debtors and the Debtors’ professional advisors and their efforts,
statements, and representations in connection therewith. Although management has made
reasonable efforts to ensure that the Schedules and Statements are accurate and complete based
upon information that was available to them at the time of preparation, subsequent information
or discovery thereof may result in material changes to the Schedules and Statements, and
inadvertent errors or omissions may exist.

         These Global Notes and Statements of Limitations, Methodology, and Disclaimers

1   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://omniagentsolutions.com/Hornblower. The location of the Debtors’ service
    address for purposes of these chapter 11 cases is: Pier 3 on The Embarcadero, San Francisco, CA 94111.
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Regarding the Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are
incorporated by reference in, and comprise an integral part of all of the Schedules and
Statements. The Global Notes should be referred to and reviewed in connection with any review
of the Schedules and Statements. The Global Notes are in addition to any specific notes
contained in any Debtor’s Schedules or Statements. Disclosure of information in one Schedule,
Statement, exhibit, or continuation sheet, even if incorrectly placed, shall be deemed to be
disclosed in the correct Schedule, Statement, exhibit, or continuation sheet.

      The Schedules, Statements, and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors.

                        Global Notes and Overview of Methodology

     General Reservation of Rights. Although the Debtors’ management has made every
     reasonable effort to ensure that the Schedules and Statements are as accurate and complete
     as possible under the circumstances based on information that was available to it at the time
     of preparation, subsequent information or discovery may result in material changes to the
     Schedules and Statements, and inadvertent errors or omissions may have occurred, some of
     which may be material. Because the Schedules and Statements contain unaudited
     information, which remains subject to further review, verification, and potential
     adjustment, there can be no assurance that the Schedules and Statements are complete. The
     Debtors reserve all rights to amend the Schedules and Statements from time to time, in any
     and all respects, as may be necessary or appropriate, including the right to dispute or
     otherwise assert offsets or defenses to any claim reflected in the Schedules and Statements
     as to amount, liability, or classification, or to otherwise subsequently designate any claim
     (“Claim”) as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained
     in the Schedules and Statements shall constitute an admission of any claims or a waiver of
     any of the Debtors’ rights with respect to these chapter 11 cases, including issues involving
     substantive consolidation, recharacterization, mandatory subordination, equitable
     subordination, and/or causes of action arising under the provisions of chapter 5 of the
     Bankruptcy Code and other relevant non-bankruptcy laws to recover assets or avoid
     transfers. The Debtors and their agents, attorneys, and advisors expressly do not undertake
     any obligation to update, modify, revise, or recategorize the information provided herein,
     or to notify any third party should the information be updated, modified, revised, or
     recategorized, except as required by applicable law or order of the Bankruptcy Court. Any
     specific reservation of rights contained elsewhere in the Global Notes does not limit in any
     respect the general reservation of rights contained in this paragraph.

     Description of Cases and “As Of” Information Date. On February 21, 2024
     (the “Petition Date”), each of the Debtors filed voluntary petitions for relief under chapter
     11 of the Bankruptcy Code in the Bankruptcy Court. The Debtors’ chapter 11 cases are
     jointly administered for procedural purposes only pursuant to an order entered by the
     Bankruptcy Court on February 21, 2024 [Docket No. 2]. The Debtors continue to operate
     their business and manage their properties as debtors in possession pursuant to sections
     1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee or



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examiner has been made in these chapter 11 cases.           Unless otherwise stated herein,
liabilities are reported as of the Petition Date.

Basis of Presentation. The Schedules and Statements purport to reflect the assets and
liabilities of separate Debtors. The Debtors, however, along with their wholly-owned
non-Debtor subsidiaries, prepare financial statements for financial reporting purposes,
which are audited annually, on a consolidated basis. The Debtors reserve all rights relating
to the legal ownership of assets and liabilities among the Debtors and nothing in the
Schedules or Statements shall constitute a waiver or relinquishment of such rights.
Information contained in the Schedules and Statements has been derived from the Debtors’
books and records. The Schedules and Statements do not purport to represent financial
statements prepared in accordance with Generally Accepted Accounting Principles nor are
they intended to be fully reconcilable to audited financial statements.

Totals. All totals that are included in the Schedules and Statements represent totals of all
known amounts included in the Debtors’ books and records. To the extent there are
unknown or undetermined amounts, the actual totals may be different than the listed total,
and the difference may be material. In addition, the amounts shown for total liabilities
exclude items identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or
“undetermined,” and, thus, ultimate liabilities may differ materially from those stated in the
Schedules and Statements.

Excluded Liabilities. The Debtors have excluded certain categories of liabilities from the
Schedules and Statements, including, but not limited to, accrued employee compensation
and benefits, certain customer accruals, tax accruals, accrued contract termination damages,
deferred income accruals, and litigation accruals. The Debtors have also excluded potential
Claims arising on account of the potential rejection of executory contracts and unexpired
leases, to the extent such Claims exist. Further, certain immaterial assets and liabilities
may have been excluded.

References. References to applicable loan agreements and related documents are
necessary for a complete description of the collateral and the nature, extent, and priority of
liens and/or claims. Nothing in the Global Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of any such agreement.

Currency. All amounts are reflected in U.S. dollars. In instances where the Debtors
maintain their books in a currency other than U.S. dollars, the FX rate as of the opening of
the business day on February 21, 2024 was used to calculate the currency conversion.

Book Value. Unless otherwise indicated, the Debtors’ assets are shown on the basis of
their net book values as of February 21, 2024, and the Debtors’ liabilities are shown on the
basis of their net book values as of the Petition Date. Thus, unless otherwise noted, the
Schedules and Statements reflect the carrying value of the assets and liabilities as recorded
on the Debtors’ books. Net book values may vary, sometimes materially, from market
values. The Debtors do not intend to amend these Schedules and Statements to reflect
market values. The book values of certain assets may materially differ from their fair




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market values and/or any liquidation analysis prepared in connection with the Debtors’
chapter 11 cases.

Paid Claims. The Bankruptcy Court authorized the Debtors to pay certain outstanding
prepetition Claims—including, but not limited to, payments to employees, customers, and
certain vendors—pursuant to various “first day” orders entered by the Bankruptcy Court.
Accordingly, certain outstanding liabilities may have been reduced by post-petition
payments made on account of prepetition liabilities. Where the Schedules list creditors and
set forth the Debtors’ scheduled amount of such Claims, such scheduled amounts reflect
amounts owed as of the Petition Date, adjusted for any post-petition payments made
pursuant to the authority granted to the Debtors by the Bankruptcy Court. In addition, to
the extent the Debtors later pay any of the Claims listed in the Schedules and Statements
pursuant to any orders entered by the Bankruptcy Court, the Debtors reserve all rights to
amend or supplement the Schedules and Statements or take other action, such as filing
Claims objections, as is necessary and appropriate to avoid overpayment or duplicate
payments for liabilities.

Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
correctly characterize, classify, categorize, or designate certain Claims, assets, executory
contracts, unexpired leases, and other items reported in the Schedules and Statements, the
Debtors nonetheless may have improperly characterized, classified, categorized, or
designated certain items. The Debtors reserve all rights to recharacterize, reclassify,
recategorize, or re-designate items reported in the Schedules and Statements at a later time
as they determine to be necessary and appropriate.

Liabilities. The Debtors allocated liabilities between the prepetition and post-petition
periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available,
and further research is conducted, particularly with respect to the Debtors’ payable
accounts, the allocation of liabilities between the prepetition and postpetition periods may
change. The Debtors reserve the right to, but are not required to, amend the Schedules and
Statements as they deem appropriate to reflect this.

The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all
rights to dispute or challenge the validity of any asserted claims under section 503(b)(9) of
the Bankruptcy Code or the characterization of the structure of any such transaction or any
document or instrument related to any creditor’s Claim.

Guarantees and Other Secondary Liability Claims. Where guarantees or similar
secondary liability claims have been identified, they have been included in the relevant
liability Schedule for the Debtor or Debtors affected by such obligation. The Debtors have
also listed such obligations related to funded debt or debt for borrowed money on the
applicable Schedule H. It is possible that certain guarantees embedded in the Debtors’
executory contracts, unexpired leases, secured financings, debt instruments, and other such
agreements may have been inadvertently omitted. The Debtors reserve their rights (but
expressly do not undertake any obligation) to amend the Schedules to the extent that


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additional guarantees are identified or such guarantees are discovered to have expired or be
unenforceable.

Intercompany Claims. Receivables and payables among and between the Debtors and (i)
other Debtors or (ii) their non-Debtor affiliates, are reported on Schedule A/B and Schedule
E/F, respectively, per the Debtors’ unaudited books and records. As described more fully
in the Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
the Debtors to (A) Continue to Operate Their Cash Management System, (B) Honor
Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms
and Books and Records, and (D) Continue to Perform Intercompany Transactions, and (II)
Granting Related Relief [Docket No. 11] (the “Cash Management Motion”), the Debtors
engage in a range of intercompany transactions in the ordinary course of business.
Pursuant to the Interim Order (I) Authorizing the Debtors to (A) Continue to Operate Their
Cash Management System, (B) Honor Certain Prepetition Obligations Related Thereto, (C)
Maintain Existing Business Forms and Books and Records, and (D) Continue to Perform
Intercompany Transactions, and (II) Granting Related Relief [Docket No. 58] (the “Cash
Management Order”), the Bankruptcy Court has granted the Debtors authority to continue
to engage in intercompany transactions in the ordinary course of business subject to certain
limitations set forth therein.

The listing of any amounts with respect to such receivables and payables is not, and should
not be construed as, an admission of the characterization of such balances as debt, equity,
or otherwise or an admission as to the validity of such receivables and payables. For the
avoidance of doubt, the Debtors reserve all rights, claims, and defenses in connection with
any and all intercompany receivables and payables, including, but not limited to, with
respect to the characterization of intercompany claims, loans, and notes. Without limiting
the generality of the foregoing, certain intercompany receivables and payables among and
between the Debtors have been consolidated and netted in the Debtors’ books and records.
Such treatment is not, and should not be construed as, an admission or conclusion of the
Debtors regarding the allowance, classification, characterization of the amount and/or
validity or priority of any such intercompany receivables and payables or the validity of
any netting or offsets per the Debtors’ books and records. The Debtors take no position in
these Schedules and Statements as to whether any such amounts would be allowed as a
claim or an interest, or not allowed at all. The listing of these amounts is not necessarily
indicative of the ultimate recovery, if any, on any intercompany asset account or the
impairment or claim status of any intercompany liability account. The Debtors reserve all
rights to later change the amounts, characterization, classification, categorization, or
designation of intercompany accounts reported in the Schedules and Statements.

In addition, certain of the Debtors act on behalf of other Debtors. Commercially
reasonable efforts have been made to indicate the ultimate beneficiary of a payment or
obligation. Whether a particular payment or obligation was incurred by the entity actually
making the payment or incurring the obligation is a complex question of applicable non-
bankruptcy law, and nothing herein constitutes an admission that any Debtor entity is an
obligor with respect to any such payment. The Debtors reserve all rights to reclassify any
payment or obligation as attributable to another entity and all rights with respect to the
proper accounting and treatment of such payments and liabilities.


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Intellectual Property Rights. Exclusion of certain intellectual property shall not be
construed to be an admission that such intellectual property rights have been abandoned,
have been terminated or otherwise expired by their terms, or have been assigned or
otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
inclusion of certain intellectual property shall not be construed to be an admission that such
intellectual property rights have not been abandoned, have not been terminated or
otherwise expired by their terms, or have not been assigned or otherwise transferred
pursuant to a sale, acquisition, or other transaction. The Debtors have made significant
efforts to attribute intellectual property to the rightful Debtor owner, however, in some
instances intellectual property owned by one Debtor may, in fact, be owned by another.
Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
and all such intellectual property rights.

Insurance. The Debtors have not set forth insurance policies as executory contracts in the
Schedules and Statements. Information regarding the Debtors’ insurance policies is set
forth in the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors
to (A) Continue Prepetition Insurance Coverage and Satisfy Prepetition Obligations
Related Thereto, (B) Renew, Amend, Supplement, Extend, or Purchase Insurance Policies,
(C) Continue to Pay Brokerage Fees, and (D) Maintain Their Surety Bond Program, and
(II) Granting Related Relief [Docket No. 18].

Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
contracts or unexpired leases as assets in the Schedules and Statements. The Debtors’
executory contracts and unexpired leases have been set forth in Schedule G. In addition,
while the Debtors have made diligent attempts to properly identify all executory contracts
and unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred.
While certain executory contracts and unexpired leases have been set forth in Schedule G,
the Debtors have filed the Notice to Contract Parties to Rejected Executory Contracts and
Unexpired Leases [Docket No. 349] and the Second Notice to Contract Parties to Rejected
Executory Contracts and Unexpired Leases [Docket No. 533], to reject certain executory
contracts and unexpired leases, pursuant to the Order (A) Approving (I) Bidding
Procedures for the Sale of the AQV Debtors’ Assets, (II) Procedures Regarding Bid
Protections, (III) the Scheduling of Certain Dates with Respect Thereto, (IV) the Form and
Manner of Notice Thereof, (V) Contract Assumption, Assignment, and Rejection
Procedures, and (VI) Certain Procedures to Otherwise Dispose of the AQV Assets, and (B)
Authorizing the Debtors to Enter into Agreements for the Sale of Their Assets Free and
Clear of all Liens, Claims, and, Encumbrances [Docket No. 166], as modified on March
22, 2024 [Docket No. 317].

Claims Description. Schedules D, E, and F permit each of the Debtors to designate a
Claim as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim
on a given Debtor’s Schedules and Statements as “disputed,” “contingent,” or
“unliquidated” does not constitute an admission by the Debtor that such amount is not
“disputed,” “contingent,” or “unliquidated” or that such Claim is not subject to objection.
The Debtors reserve all rights to dispute any Claim reflected on their respective Schedules
and Statements on any grounds, including, without limitation, liability or classification, or
to otherwise subsequently designate such Claims as “disputed,” “contingent,” or


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“unliquidated.” In addition, the Debtors reserve their rights to object to any listed Claim on
the grounds that, among other things, the Claim has already been satisfied.

Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all of
their causes of action or potential causes of action against third parties as assets in their
Schedules and Statements, including, without limitation, avoidance actions arising under
chapter 5 of the Bankruptcy Code and actions under other relevant non-bankruptcy laws to
recover assets. The Debtors reserve all of their rights for any claims, causes of action, or
avoidance actions they may have, and neither these Global Notes nor the Schedules and
Statements shall be deemed a waiver of any such claims, causes of actions, or avoidance
actions or in any way prejudice or impair the assertion of such claims.

Undetermined Amounts. Claim amounts that could not readily be quantified by the
Debtors are scheduled as “unknown,” “TBD,” or “undetermined.” The description of an
amount as “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the
materiality of such amount.

Unliquidated Amounts. Claim amounts that could not be readily quantified by the
Debtors are scheduled as “unliquidated.”

Liens. Property and equipment listed in the Schedules and Statements are presented
without consideration of any liens that may attach (or have attached) to such property or
equipment.

Employee Addresses. Personal addresses of current and former employees and directors
have been removed from entries listed throughout the Schedules and Statements, where
applicable.

Insiders. In circumstances where the Schedules and Statements require information
regarding “insiders,” the Debtors have included information with respect to the individuals
and entities that the Debtors believe may potentially be included in the definition of
“insider” set forth in section 101(31) of the Bankruptcy Code during the relevant time
periods. Such individuals may not actually constitute “insiders” for purposes of section
101(31) of the Bankruptcy code or may no longer serve in such capacities. Persons and
entities listed as “insiders” have been included for informational purposes only. The
Debtors do not take any position with respect to (a) such person’s influence over the
control of the Debtors; (b) the management responsibilities or functions of such individual;
(c) the decision-making or corporate authority of such individual; or (d) whether such
individual could successfully argue that he or she is not an “insider” under applicable law,
including federal securities law, or with respect to any theories of liability or any other
purpose. As such, the Debtors reserve all rights to dispute whether someone identified in
response to questions in the Schedules and Statements is in fact an “insider” as defined in
section 101(31) of the Bankruptcy Code.

Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
management was required to make certain estimates and assumptions that affected the
reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the



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reported amounts of assets and liability to reflect changes in those estimates or
assumptions.

Credits and Adjustments. The claims of individual creditors for, among other things,
goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
and records and may not reflect credits, allowances, or other adjustments due from such
creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
allowances, and other adjustments, including the right to assert claims objections and/or
setoffs with respect to the same.

Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary
course of business. Offsets in the ordinary course can result from various items, including,
without limitation, intercompany transactions, pricing discrepancies, returns, warranties,
negotiations and/or disputes between the Debtors and their vendors and customers. These
offsets and other similar rights are consistent with the ordinary course of business in the
Debtors’ industry and are not tracked separately. Therefore, although such offsets and
other similar rights may have been accounted for when certain amounts were included in
the Schedules, offsets are not independently accounted for, and as such, are excluded from
the Schedules.

Global Notes Control. In the event that the Schedules and Statements differ from these
Global Notes, the Global Notes shall control.

Confidentiality. There may be instances in the Schedules and Statements where the
Debtors have deemed it necessary and appropriate to redact from the public record
information such as names or addresses. Typically, the Debtors have used this approach
because of an agreement between the Debtors and a third party, concerns of confidentiality,
or concerns for the privacy of, or otherwise preserving the confidentiality of, personally
identifiable information. The redactions are limited to only what is necessary to protect the
Debtors or third party and are consistent with the relief granted under the Order (I)
Authorizing the Debtors to (A) File a Consolidated List of Creditors, (B) File a
Consolidated List of the 30 Largest Unsecured Creditors, and (C) Redact Certain Personal
Identification Information; (II) Waiving or Modifying the Requirement to File a List of
Equity Security Holders; (III) Approving the Form and Manner of Notifying Creditors of
the Commencement of These Chapter 11 Cases; and (IV) Granting Related Relief [Docket
No. 62].

                   General Disclosures Applicable to Schedules

Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
“priority,” or (c) on Schedule E/F as “unsecured,” or a contract on Schedule G as
“executory” or “unexpired,” does not in each case constitute an admission by the Debtors
of the legal rights of the claimant, or a waiver of the Debtors’ right to recharacterize,
subordinate, or reclassify such Claim or contract.

Schedule A/B – Real and Personal Property.

     a) Schedule A/B, Part 1 – Cash and Cash Equivalents. Details with respect to the


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      Debtors’ cash management system and bank accounts are provided in the Cash
      Management Motion and Cash Management Order. The Debtors’ cash balances
      are listed as of the Petition Date, February 21, 2024, at bank balances.

      Schedule A/B, Part 2 – Deposits and Prepayments. The Bankruptcy Court,
      pursuant to the Order (I) Approving the Debtors’ Proposed Adequate Assurance
      of Payment for Future Utility Services, (II) Prohibiting Utility Providers from
      Altering, Refusing, or Discontinuing Services, (III) Approving the Debtors’
      Proposed Procedures for Resolving Additional Adequate Assurance Requests,
      and (IV) Granting Related Relief [Docket No. 107], authorized the Debtors to
      provide adequate assurance of payment for future utility services. In addition,
      certain retainers or deposits reflect payments to professionals made by a certain
      Debtor entity, but may be subject to applicable allocation amongst the Debtors.

      Certain reported prepaid or amortized assets are listed in accordance with the
      Debtors’ books and records. The amounts listed in Part 2 do not necessarily
      reflect assets the Debtors will be able to collect or realize. The amounts listed in
      Part 2 include, among other things, prepaid insurance, licenses, taxes, and other
      prepaid expenses.

   b) Schedule A/B, Part 3 – Accounts Receivable. The Debtors’ reported accounts
      receivable include amounts that may be uncollectible. Notwithstanding the
      foregoing, the Debtors have used reasonable efforts to deduct doubtful or
      uncollectible accounts. The Debtors are unable to determine with certainty what
      amounts will actually be collected.

   c) Schedule A/B, Part 4 – Investments. Ownership interests in subsidiaries,
      partnerships have been listed in Schedule A/B, Part 4, as undetermined amounts
      on account of the fact that the fair market value of such ownership is dependent
      on numerous variables and factors and may differ significantly from their net
      book value.

   d) Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
      Collectibles. Dollar amounts are presented net of accumulated depreciation and
      other adjustments.

   e) Schedule A/B, Part 8 – Machinery, Equipment, and Vehicles. For those
      Debtors that own machinery, equipment and vehicles, dollar amounts are
      presented net of accumulated depreciation and other adjustments.

   f) Schedule A/B, Part 9 – Real Property. Real property (either leased or leasehold
      interests) is recorded at cost and depreciated (as appropriate) on a straight-line
      basis over the estimated useful lives of the assets.

   g) Schedule A/B, Part 10 – Intangibles and Intellectual Property. The Debtors
      review goodwill and other intangible assets having indefinite lives for impairment
      annually or when events or changes in circumstances indicate the carrying value
      of these assets might exceed their current fair values. The Debtors report


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         intellectual property assets as undetermined value whenever applicable. For
         purposes of the Schedules, the Debtors have listed intangible assets and
         intellectual property only at entities for which these assets are recorded on their
         books. The exclusion of listing similar assets at additional Debtors should not be
         construed as an admission that other Debtors do not possess similar assets.

     h) Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
        impairments and other adjustments.

             a. Item 72 – Tax Refunds and Unused Net Operating Losses (NOLs). The
                Debtors may be entitled to apply certain net operating losses or other tax
                attributes. The Debtors have provided a summary of certain of their tax
                attributes and related considerations in Item 72; however, such tax
                attributes are listed as undetermined amounts because the fair market
                value (if any) of such attributes is dependent on numerous variables and
                factors.

             b. Items 74 and 75 – Causes of action against third parties (whether or not
                a lawsuit has been filed) and other contingent and unliquidated claims
                or causes of action of every nature, including counterclaims of the
                debtors and rights to set off claims. The Debtors attempted to list known
                causes of action and other claims. Potential preference actions and/or
                fraudulent transfer actions were not listed because the Debtors have not
                completed an analysis of such potential claims. The Debtors’ failure to
                list any cause of action, claim, or right of any nature is not an admission
                that such cause of action, claim, or right does not exist, and should not be
                construed as a waiver of such cause of action, claim, or right.

             c. Item 77 – Other property of any kind not already listed. The Debtors
                have included intercompany receivables as of February 21, 2024.

Schedule D – Creditors Who Have Claims Secured by Property. The Claims listed on
Schedule D arose or were incurred on various dates; a determination of the date upon
which each Claim arose or was incurred would be unduly burdensome and cost prohibitive.
Accordingly, not all such dates are included for each Claim. All Claims listed on Schedule
D, however, appear to have arisen or have been incurred before the Petition Date.
Operating leases are listed on Schedule G.

Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
immunity from avoidance of any lien purported to be granted or perfected in any specific
asset of a secured creditor listed on Schedule D of any Debtor. Moreover, although the
Debtors have scheduled Claims of various creditors as secured Claims, the Debtors reserve
all of their rights to dispute or challenge the secured nature of any such creditor’s Claim or
the characterization of the structure of any such transaction or any document or instrument
related to such creditor’s Claim. Further, while the Debtors have included the results of
Uniform Commercial Code searches, the listing of such results is not, nor shall it be


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deemed, an admission as to the validity of any such lien. The descriptions provided in
Schedule D are solely intended to be a summary and not an admission of liability. The
Debtors made reasonable, good faith efforts to include all known liens on Schedule D but
may have inadvertently omitted to include an existing lien because of, among other things,
the possibility that a lien may have been imposed after the Uniform Commercial Code
searches were performed or a vendor may not have filed the requisite perfection
documentation.

Although there are multiple parties that hold a portion of the debt included in the Debtors’
prepetition funded debt, only the applicable administrative agent or indenture trustee has
been listed for purposes of Schedule D.

Except as specifically stated on Schedule D, real property lessors, utility companies, and
other parties that may hold security deposits have not been listed on Schedule D. The
Debtors reserve their rights to amend Schedule D to the extent that the Debtors determine
that any Claims associated with such agreements should be reported on Schedule D.

Moreover, the Debtors have not included on Schedule D parties that may believe their
Claims are secured through setoff rights or inchoate statutory lien rights.

Schedule E/F - Creditors Who Have Unsecured Claims. The Debtors have not listed on
Schedule E any wage or wage-related obligations which the Debtors have been granted
authority to pay pursuant to the Order (I) Authorizing the Debtors to (A) Pay Prepetition
Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue
Employee Benefits Programs and (II) Granting Related Relief [Docket No. 109]. The
Debtors believe that all such Claims have been or will be satisfied in the ordinary course
during these chapter 11 cases pursuant to the authority granted in the relevant order.

The Debtors have not listed on Schedule E any tax related obligations, except for open tax
audits, which the Debtors have been granted authority to pay pursuant to the Order (I)
Authorizing the Payment of Certain Taxes and Fees, and (II) Granting Related Relief
[Docket No. 61]. The Debtors believe that all such Claims have been or will be satisfied in
the ordinary course during these chapter 11 cases pursuant to the authority granted in the
relevant order.

The Debtors have used reasonable efforts to report all general unsecured Claims against the
Debtors on Schedule E/F based upon the Debtors’ existing books and records as of the
Petition Date; however, inadvertent errors or omissions may have occurred. The Claims
listed on Schedule E/F arose or were incurred on various dates. In certain instances, the
date on which a Claim arose is an open issue of fact. In addition, the Claims of individual
creditors for, among other things, goods or services are listed as either the lower of the
amounts invoiced by such creditor or the amounts entered on the Debtors’ books and
records and may not reflect credits, rebates, or allowances due from such creditors to the
applicable Debtors. The Claims and amounts listed in respect of certain trade payables
may reflect payments by the Debtors pursuant to applicable “first day” orders and amounts
to be paid later pursuant to “second day” orders. Certain Debtors may pay additional
Claims listed on Schedule E/F during these chapter 11 cases pursuant to these and other


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orders of the Bankruptcy Court and reserve all of their rights to update Schedule E/F to
reflect such payments. In addition, certain Claims listed on Schedule E/F may be entitled
to priority under section 503(b)(9) of the Bankruptcy Code.

Schedule E/F also contains information regarding pending litigation involving the Debtors.
The dollar amount of potential Claims associated with any such pending litigation is listed
as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F also includes
potential or threatened legal disputes that are not formally recognized by an administrative,
judicial, or other adjudicative forum due to certain procedural conditions that
counterparties have yet to satisfy.

The Debtors have scheduled, on Schedule E/F, all claims with respect to payments made by
persons or entities on account of cruises that were scheduled to be operated by American
Queen Steamboat Operating Company, LLC (“AQSOC”) or Victory Operating Company,
LLC (“VOC”), each doing business as American Queen Voyages™ (collectively, the
“AQV Cancelled Cruise Claims”). The Debtors have listed the AQV Cancelled Cruise
Claims as neither “contingent,” nor “unliquidated,” nor “disputed.” To the extent an AQV
Cancelled Cruise Claim is held by an individual person, the Debtors also have indicated the
portion of the AQC Cancelled Cruise Claim entitled to priority under section 507(a)(7) of
the Bankruptcy Code to the extent such creditors receive distributions under the Plan.

As required by the Federal Maritime Commission (the “FMC”), AQSOC and VOC (the
“AQV Debtors”) purchased surety bonds (the “Surety Bonds”) to ensure that eligible
customers of the AQV Debtors would receive full refunds in the event of non-performance
of cruises. See 46 C.F.R. § 540.9. The AQV Debtors thus obtained two Surety Bonds
from Argonaut Insurance Company (“Argonaut”) providing $39 million of aggregate
coverage: (i) Passenger Vessel Surety Bond No. SUR0039562 (the “AQSOC Bond”)
provides $32 million of surety coverage for non-performance of transportation on vessels
operated by AQSOC and (ii) Passenger Vessel Surety Bond No. SUR0046973 (the “VOC
Bond”) provides $7 million of surety coverage for nonperformance of transportation on
vessels operated by VOC. The Debtors’ books and records provide that the aggregate
amount of eligible AQV Cancelled Cruise Claims is less than the penal limits of the
AQSOC Bond and VOC Bond, respectively.

In consultation with the FMC and the Committee, the Debtors sent a “denial” letter to
customers of the AQV Debtors on March 29, 2024, denying such customers’ demands for
refunds on account of cancelled cruises that were scheduled to be operated by the AQV
Debtors and thereby permitting eligible customers, under the terms of the Surety Bonds and
FMC regulations, to submit claims against Argonaut for such refunds.

Although the Debtors have scheduled the AQV Cancelled Cruise Claims on Schedule E/F,
the Debtors contend that such claims relating to cruises scheduled to depart from U.S. ports
of embarkment (the “U.S. AQV Cancelled Cruise Claims”) shall be paid in full by
Argonaut, which is a co-obligor with respect to such claims under the Surety Bonds.
 Accordingly, the Debtors assert that holders of U.S. AQV Cancelled Cruise Claims should


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receive payment in full from Argonaut, and therefore should not receive distributions from
the Debtors under the Plan. The Debtors reserve all rights with respect to the extent and
timing of distributions under the Plan with respect to U.S. AQV Cancelled Cruise Claims.

Schedule G – Executory Contracts and Unexpired Leases. While every effort has been
made to ensure the accuracy of Schedule G, inadvertent errors or omissions may have
occurred. Each lease and contract listed in Schedule G may include one or more ancillary
documents, including any underlying assignment and assumption agreements, amendments,
supplements, full and partial assignments, renewals and partial releases. Certain of the
leases and contracts listed on Schedule G may contain certain renewal options, guarantees
of payment, options to purchase, rights of first refusal, and other miscellaneous rights.
Such rights, powers, duties, and obligations are not set forth on Schedule G. In addition,
the Debtors may have entered into various other types of agreements in the ordinary course
of business, such as financing agreements, subordination, non-disturbance agreements,
supplemental agreements, amendments/letter agreements, title agreements, and
confidentiality agreements. Such documents may not be set forth on Schedule G. Certain
of the contracts, agreements, and leases listed on Schedule G may have been entered into
by more than one of the Debtors. Further, the specific Debtor obligor to certain of the
executory contracts could not be specifically ascertained in every circumstance. In some
cases, the same supplier or provider appears multiple times in Schedule G. This multiple
listing is to reflect distinct agreements between the applicable Debtor and such supplier or
provider. In such cases, the Debtors made their best efforts to determine the correct
Debtor’s schedule on which to list such executory contracts or unexpired leases. Certain of
the executory contracts may not have been memorialized in writing and could be subject to
dispute.

The Debtors reserve all of their rights to dispute the validity, status, or enforceability of any
contracts, agreements, or leases set forth in Schedule G and to amend or supplement such
Schedule as necessary. Inclusion or exclusion of any agreement on Schedule G does not
constitute an admission that such agreement is an executory contract or unexpired lease,
and the Debtors reserve all rights in that regard, including, that any agreement is not
executory, has expired pursuant to its terms, or was terminated prepetition.

Schedule H – Codebtors. Although the Debtors have made every effort to ensure the
accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred.
The Debtors hereby reserve all rights to dispute the validity, status, and enforceability of
any obligations set forth on Schedule H and to further amend or supplement such Schedule
as necessary. Due to the voluminous nature of debts listed in the Schedules, and to avoid
unnecessary duplication, the Debtors have not listed debts that more than one Debtor may
be liable if such debt is also listed on Schedules E/F or G for the respective co-Debtor
liable for such debt (apart from the guarantees of unsecured funded debt obligations, as
described in paragraph 13 above).

The Debtors further reserve all rights, claims, and causes of action with respect to the
obligations listed on Schedule H, including the right to dispute or challenge the
characterization or the structure of any transaction, document, or instrument related to a
creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H


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shall not be deemed an admission that such obligation is binding, valid, or enforceable.

In the ordinary course of their business, the Debtors may be involved in pending or
threatened litigation and claims arising out of the conduct of their business. These matters
may involve multiple plaintiffs and defendants, some or all of whom may assert cross-
claims and counterclaims against other parties. Because such litigation is listed elsewhere
in the Statements and Schedules, they have not been set forth individually on Schedule H.

Schedule H also reflects guarantees or similar secondary liability obligations by various
Debtors. The Debtors may not have identified certain guarantees that are embedded in the
Debtors’ executory contracts, unexpired leases, debt instruments, and other such
agreements. Further, the Debtors believe that certain of the guarantees reflected on
Schedule H may have expired or may no longer be enforceable. Thus, the Debtors reserve
their right, but shall not be required, to amend the Schedules to the extent that additional
guarantees are identified or such guarantees are discovered to have expired or are
unenforceable.

                   General Disclosures Applicable to Statements

Questions 1 and 2. The Debtors’ responses to Questions 1 and 2 are presented in
accordance with the Debtors’ books and records. Certain revenue for these periods was
recorded in a consolidating entity and was not distributed between the Debtors and their
non-filing affiliates and is therefore not included in response to Questions 1 and 2.

Question 3. For certain creditors receiving payment, the Debtors maintain multiple
addresses for such vendor. Efforts have been made to attribute the correct address,
however, in certain instances, alternate addresses may be applicable for a party listed in
response to Question 3.

Question 4. Individual payments to Debtor affiliates are not reflected in Statement 4 due
to their complexity and voluminous nature. The Debtors have reported net monthly
intercompany positions in Statement 4. In addition, intercompany payables and receivables
as of the Petition Date can be found on Schedule E/F and Schedule A/B. The listing of any
entity as an insider does not constitute an admission or a final determination that any such
entity is or is not an insider. Alvarez and Marsal Managing Director, Jonathan Hickman is
retained as Chief Restructuring Officer of the Debtors. Our of an abundance of disclosure,
payments to Alvarez and Marsal are listed in response to Question 4.

Question 7. The Debtors reserve all of their rights and defenses with respect to any and all
listed lawsuits and administrative proceedings. The listing of any such suits and
proceedings shall not constitute an admission by the Debtors of any liabilities or that the
actions or proceedings were correctly filed against the Debtors or any affiliates of the
Debtors. The Debtors also reserve their rights to assert that a Debtor is not an appropriate
party to such actions or proceedings.

Question 10. The Debtors have made best efforts to collect applicable and responsive
information. Given the scale of the Debtors’ retail and wholesale footprint, the Debtors



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incur certain immaterial losses in the ordinary course of business. Such amounts may not
be listed in the Statements.

Question 11. All payments for services of any entities that provided consultation
concerning debt restructuring services, relief under the Bankruptcy Code, or preparation of
a petition in bankruptcy within one year immediately preceding the Petition Date are listed
on either Debtor’s respective Statements, as applicable. The Debtors have endeavored to
list only payments made for debt restructuring services, however, in some instances, these
balances may include payments for services not related to restructuring or bankruptcy
matters. Additional information regarding the Debtors’ retention of professionals is more
fully described in the individual retention applications for those professionals. Payments
listed to Alvarez and Marsal in response to this question are duplicated in Question 4.

Question 13. While the Debtors have made reasonable efforts to respond comprehensively
to Question 13, certain de minimis asset sales and transfers may be omitted unintentionally.
In addition, the Debtors regularly sell certain non-core assets, including inventory, in the
ordinary course of business. Accordingly, such dispositions made in the ordinary course of
business have not been reflected in Question 13.

Question 21. Vessels and locations operated by the Debtors may contain de minimis
property owned by repairmen or ticketing operations, which the Debtors do not track and
are not reflected in Question 21.

Question 26d. In the ordinary course of business, the Debtors provide financial statements
to certain parties, such as financial institutions, investment banks, auditors, potential
investors, vendors and financial advisors. The Debtors do not maintain complete lists to
track such disclosures, and as such, the Debtors have not provided a listing of these parties
in response to this question.




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 Fill in this information to identify the case:

 Debtor name           Hornblower Yachts, LLC

 United States Bankruptcy Court for the:               Southern District of Texas, Houston Division


 Case number (If known):                24-90096 (MI)
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $      32,588,475.72*


     1b. Total personal property:
                                                                                                                                                                                         $     220,421,718.89*
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $     253,010,194.61*
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $       Undetermined
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $                 0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $    312,773,073.92*
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $     312,773,073.92*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
                       Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 17 of 154
   Fill in this information to identify the case:

    Debtor name Hornblower Yachts, LLC


    United States Bankruptcy Court for the: Southern District of Texas, Houston Division
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 24-90096 (MI)                                                                                                       amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    ¨      No. Go to Part 2.
    þ      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $               308,065.75

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                       Type of account         Last 4 digits of account number

    3.1 CHASE                                                          COLLATERAL                2    9     7     5                  $               480,206.00

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1 None                                                                                                                         $                      0.00

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $               788,271.75
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    ¨ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    þ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1 REFUNDABLE DEPOIT                                                                                                            $               750,736.66
    7.2                                                                                                                              $



Official Form 206A/B                                      Schedule A/B: Assets - Real and Personal Property                                        Page 1
Debtor                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24
            Hornblower Yachts, LLC                                                 Page
                                                                            Case number       18 24-90096
                                                                                        (If known) of 154(MI)
            Name



 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1 PREPAID SUPPLIES - MARKETING MATERIAL                                                                                          $               1,940.74

     8.2 PREPAID - OTHER                                                                                                                $              97,236.34

 9. Total of Part 2.
                                                                                                                                        $             849,913.74
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     ¨       No. Go to Part 4.
     þ       Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
 11. Accounts receivable

         11a. 90 days old or less:             5,347,605.40                            0.00                       =   ......            $           5,347,605.40
                                       face amount                       doubtful or uncollectible accounts

         11b. Over 90 days old:                      0.00                              0.00                       =   ......            $                    0.00
                                       face amount                       doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                        $           5,347,605.40
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:       Investments

  13. Does the debtor own any investments?

     þ       No. Go to Part 5.
     ¨       Yes. Fill in the information below.                                                              Valuation method         Current value of debtor's
                                                                                                              used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1                                                                                                                               $

     14.2                                                                                                                               $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                            % of ownership:
     15.1                                                                                             %                                 $

     15.2                                                                                             %                                 $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1                                                                                                                               $

     16.2                                                                                                                               $



 17. Total of Part 4                                                                                                                    $                    0.00
         Add lines 14 through 16. Copy the total to line 83.




Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                       Page 2
Debtor                   Case 24-90061 Document 817 Filed in TXSB on 04/23/24
           Hornblower Yachts, LLC                                                Page
                                                                          Case number       19 of
                                                                                      (If known)     154(MI)
                                                                                                 24-90096
           Name



 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     ¨       No. Go to Part 6.
     þ       Yes. Fill in the information below.
         General Description                              Date of the last          Net book value of   Valuation method          Current value of
                                                          physical inventory        debtor's interest   used for current          debtor's interest
                                                                                    (Where available)   value

     19. Raw materials
     None                                                                       $                                                 $                    0.00
                                                               MM / DD / YYYY
     20. Work in progress
     None                                                                       $                                                 $                    0.00
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
     None                                                                       $                                                 $                    0.00
                                                               MM / DD / YYYY
     22. Other inventory or supplies

     OTHER INVENTORY                                     02/19/2024             $          276,384.84   NET BOOK VALUE            $             276,384.84
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                                  $             276,384.84
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     ¨       No
     þ       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     ¨       No
     þ       Yes. Book value $       Undetermined Valuation method N/A                          Current value $   Undetermined

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     þ       No
     ¨       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                        Net book value of   Valuation method         Current value of debtor's
                                                                                    debtor's interest   used for current         interest
                                                                                    (Where available)   value

  28. Crops-either planted or harvested
                                                                                $                                                 $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                $                                                 $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                $                                                 $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                $                                                 $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                $                                                 $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                                     Page 3
Debtor                   Case 24-90061 Document 817 Filed in TXSB on 04/23/24
           Hornblower Yachts, LLC                                                Page
                                                                          Case number       20 of
                                                                                      (If known)     154(MI)
                                                                                                 24-90096
           Name


 33. Total of Part 6.
                                                                                                                        $                    0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    ¨        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                       Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    ¨        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ¨        No. Go to Part 8.
    þ        Yes. Fill in the information below.

         General Description                                                    Net book value of   Valuation method   Current value of debtor's
                                                                                debtor's interest   used for current   interest
                                                                                (Where available)   value

 39. Office furniture
    None                                                                        $                                       $                    0.00

 40. Office fixtures
    None                                                                        $                                       $                    0.00

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
    OFFICE EQUIPMENT                                                            $      132,623.33   NET BOOK VALUE      $             132,623.33

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1 None                                                                   $                                       $                    0.00
    42.2                                                                        $                                       $
    42.3                                                                        $                                       $

 43. Total of Part 7.
                                                                                                                        $             132,623.33
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    ¨        No
    þ        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    þ        No
    ¨        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                           Page 4
                         Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 21 of 154
Debtor      Hornblower Yachts, LLC                                                                           Case number (If known) 24-90096 (MI)
            Name



 Part 8:       Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     ¨       No. Go to Part 9.
     þ        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method              Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current              interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1 None                                                                 $                                                      $                       0.00
     47.2                                                                      $                                                      $
     47.3                                                                      $                                                      $
     47.4                                                                      $                                                      $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1 See Attached Rider                                                   $      11,041,000.30*                                  $             11,041,000.30*
     48.2                                                                      $                                                      $


  49. Aircraft and accessories
     49.1 None                                                                 $                                                      $                       0.00
     49.2                                                                      $                                                      $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

     None                                                                      $                                                      $                       0.00



  51. Total of Part 8.
                                                                                                                                      $             11,041,000.30*
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨        No
     þ        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     ¨        No
     þ        Yes




  *Plus Undetermined Amounts




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                           Page 5
Debtor                   Case 24-90061 Document 817 Filed in TXSB on 04/23/24
            Hornblower Yachts, LLC                                               Page
                                                                          Case number       22 of
                                                                                      (If known)     154(MI)
                                                                                                 24-90096
            Name



 Part 9: Real property

 54. Does the debtor own or lease any real property?

     ¨ No. Go to Part 10.
     þ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of     Valuation method        Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest     used for current        debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)     value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1 See Attached Rider                                                              $      32,588,475.72*                             $      32,588,475.72*
     55.2                                                                                 $                                                 $
     55.3                                                                                 $                                                 $
     55.4                                                                                 $                                                 $
     55.5                                                                                 $                                                 $
     55.6                                                                                 $                                                 $

  56. Total of Part 9.
                                                                                                                                            $      32,588,475.72*
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     ¨ No
     þ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     þ No
     ¨ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     ¨       No. Go to Part 11.
     þ       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method          Current value of debtor's
                                                                                       debtor's interest     used for current          interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
     None                                                                          $                                                    $                       0.00

  61. Internet domain names and websites
     None                                                                          $                                                    $                       0.00

  62. Licenses, franchises, and royalties
     PLEASE REFER TO THE GLOBAL NOTES                                              $                                                    $

  63. Customer lists, mailing lists, or other compilations
     CUSTOMER LISTING                                                              $          Undetermined        N/A                   $           Undetermined

  64. Other intangibles, or intellectual property
     None                                                                          $                                                    $                       0.00

  65. Goodwill
     None                                                                          $                                                    $                       0.00

  66. Total of Part 10.
                                                                                                                                            $       Undetermined
         Add lines 60 through 65. Copy the total to line 89.

  *Plus Undetermined Amounts

Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                       Page 6
Debtor                   Case 24-90061 Document 817 Filed in TXSB on 04/23/24
            Hornblower Yachts, LLC                                               Page
                                                                          Case number       23 of
                                                                                      (If known)     154(MI)
                                                                                                 24-90096
            Name


  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     þ No
     ¨ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                               Current value of
                                                                                                                                         debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                    =   $                   0.00
                                                                          Total Face Amount   Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         See Attached Rider                                                                                    Tax Year              $         32,818,855.00
                                                                                                               Tax Year              $
                                                                                                               Tax Year              $

  73. Interests in insurance policies or annuities
         PLEASE REFER TO HORNBLOWER HOLDINGS LLC SCHEDULE AB QUESTION 73                                                             $

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested            $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested            $

  76. Trusts, equitable or future interests in property
         None                                                                                                                        $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                          $        169,167,064.53
                                                                                                                                     $

  78. Total of Part 11.
                                                                                                                                     $        201,985,919.53
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                   Page 7
                           Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 24 of 154
Debtor     Hornblower Yachts, LLC                                                                                              Case number (If known)   24-90096 (MI)
           Name



 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                      Current value
         Type of Property
                                                                                                            personal property                    of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $             788,271.75

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $             849,913.74

  82. Accounts receivable. Copy line 12, Part 3.                                                           $          5,347,605.40

  83. Investments. Copy line 17, Part 4.                                                                   $                   0.00

  84. Inventory. Copy line 23, Part 5.                                                                     $             276,384.84

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $             132,623.33
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $        11,041,000.30*

  88. Real property. Copy line 56, Part 9. . ...............................................................................                     $32,588,475.72*

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $         Undetermined

  90. All other assets. Copy line 78, Part 11.                                                             $       201,985,919.53

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $      220,421,718.89*     + 91b.     $32,588,475.72*




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................       $   253,010,194.61*



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                          Page 8
                      Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 25 of 154
Debtor Name: Hornblower Yachts, LLC                                                                                     Case Number: 24-90096 (MI)

                                                              Assets - Real and Personal Property

                                          Part 8, Question 48: Watercraft, trailers, motors, and related accessories



Watercraft, trailers, motors, and related accessories                   Net book value of      Valuation method         Current value of debtor's
Examples: Boats, trailers, motors, floating homes, personal             debtor's interest      used for current value   interest
watercraft, and fishing vessels                                         (Where available)
VESSEL                                                                       $11,041,000.30 NET BOOK VALUE                               $11,041,000.30


VESSEL: HORNBLOWER SERENITY - OFFICIAL NUMBER:                                 Undetermined N/A                                           Undetermined
681492

VESSEL: MARINA HORNBLOWER - OFFICIAL NUMBER:                                   Undetermined N/A                                           Undetermined
907063

VESSEL: CABARET HORNBLOWER - OFFICIAL NUMBER:                                  Undetermined N/A                                           Undetermined
529432

VESSEL: COMMODORE HORNBLOWER - OFFICIAL NUMBER:                                Undetermined N/A                                           Undetermined
298974

VESSEL: HORNBLOWER - OFFICIAL NUMBER: 533843                                   Undetermined N/A                                           Undetermined


VESSEL: LADY HORNBLOWER - OFFICIAL NUMBER: 291543                              Undetermined N/A                                           Undetermined


VESSEL: NEWPORT HORNBLOWER - OFFICIAL NUMBER:                                  Undetermined N/A                                           Undetermined
906972

                                                                                              TOTAL                                      $11,041,000.30
                                                                                                                                   + Undetermined Amounts




                                                                           Page 1 of 1
                         Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 26 of 154
Debtor Name: Hornblower Yachts, LLC                                                                                         Case Number: 24-90096 (MI)

                                                                 Assets - Real and Personal Property

               Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of property                   Nature and extent        Net book value of      Valuation method         Current value of
Include street address or other description such as    of debtor’s interest     debtor's interest      used for current         debtor's interest
Assessor Parcel Number (APN), and type of property     in property              (Where available)      value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

BUILDINGS, LAND, & LEASEHOLD                           REAL PROPERTY                $32,588,475.72 NET BOOK VALUE                               $32,588,475.72
IMPROVEMENTS

DOCKING AGREEMENT: 2429, 2431, 2439, DOCKING                                          Undetermined N/A                                           Undetermined
2505, AND 2507 WEST COAST HIGHWAY IN AGREEMENT
NEWPORT BEACH, COUNTY OF ORANGE,
STATE OF CALIFORNIA
DOCKING AGREEMENT: 2901 WEST COAST DOCKING                                            Undetermined N/A                                           Undetermined
HIGHWAY, NEWPORT BEACH, CALIFORNIA AGREEMENT

DOCKING AGREEMENT: MARINA MOORING DOCKING                                             Undetermined N/A                                           Undetermined
SLIP NO. 70                       AGREEMENT

DOCKING AGREEMENT: PIER 3 IN THE                       DOCKING                        Undetermined N/A                                           Undetermined
CITY AND COUNTY OF SAN FRANCISCO                       AGREEMENT

DOCKING AGREEMENT: PIER 31 /A, PIER                    DOCKING                        Undetermined N/A                                           Undetermined
33                                                     AGREEMENT

LEASED PROPERTY: 13755 FIJI WAY (D-9),                 LEASED PROPERTY                Undetermined N/A                                           Undetermined
MARINADELREY, CALIFORNIA, 13721 FIJI
WAY (KIOSK), MARINADELREY,
CALIFORNIA
LEASED PROPERTY: 2431 W. COAST                         LEASED PROPERTY                Undetermined N/A                                           Undetermined
HIGHWAY SLIPS 6B,7A,7B,8A,8B AND 9A

LEASED PROPERTY: 2431 W. COAST                         LEASED PROPERTY                Undetermined N/A                                           Undetermined
HIGHWAY SUITE 102, 103A AND 104B

LEASED PROPERTY: 2527 & 2537 WEST                      LEASED PROPERTY                Undetermined N/A                                           Undetermined
COAST HIGHWAY

LEASED PROPERTY: 2527 WEST COAST                       LEASED PROPERTY                Undetermined N/A                                           Undetermined
HIGHWAY, NEW PORT BEACH CALIFORNIA
92663, 2537 WEST COAST HIGHWAY, NEW
PORT BEACH CALIFORNIA 92663
LEASED PROPERTY: 2645 TOWNSGATE                        LEASED PROPERTY                Undetermined N/A                                           Undetermined
ROAD UNIT 100 & 200, WESTLAKE
VILLAGE, CALIFORNIA
LEASED PROPERTY: 2645 TOWNSGATE                        LEASED PROPERTY                Undetermined N/A                                           Undetermined
ROAD, WESTLAKE VILLAGE, UNIT#200,
WEST LAKE VILLAGE, VENTURA,
CALIFORNIA 91361
LEASED PROPERTY: 2825 FIFTH AVENUE,                    LEASED PROPERTY                Undetermined N/A                                           Undetermined
SANDIEGO, CALIFORNIA 92103

LEASED PROPERTY: 3101 W COAST HWY                      LEASED PROPERTY                Undetermined N/A                                           Undetermined
NEWPORT BEACH, CA 92663

LEASED PROPERTY: 817 W. 17TH ST,, #1,                  LEASED PROPERTY                Undetermined N/A                                           Undetermined
LOCATED IN THE CITY OF COSTA MASH,
COUNTY OF ORANGE, STATE OF, 92627
LEASED PROPERTY: ADJACENT THE                          LEASED PROPERTY                Undetermined N/A                                           Undetermined
NORTH SIDE OF FORMER NAVY PIER HA,
NORTH EMBARCADERO ESPLANADE
BETWEEN THE PROLONGATIONS OF
WEST BROADWAY AND "E" STREET, AT
GRAPE STREET PIER THREE, SAN DIEGO,
CALIFORNIA
LEASED PROPERTY: CHAPTER 2180,                         LEASED PROPERTY                Undetermined N/A                                           Undetermined
STATUTES OF 1961, VICINITY OF
BERKELEY, ALAMEDA COUNTY,
CALIFORNIA
                                                                              Page 1 of 2
                         Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 27 of 154
Debtor Name: Hornblower Yachts, LLC                                                                                         Case Number: 24-90096 (MI)

                                                                 Assets - Real and Personal Property

               Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



Description and location of property                   Nature and extent        Net book value of      Valuation method         Current value of
Include street address or other description such as    of debtor’s interest     debtor's interest      used for current         debtor's interest
Assessor Parcel Number (APN), and type of property     in property              (Where available)      value
(for example, acreage, factory, warehouse, apartment
or office building), if available.

LEASED PROPERTY: SUITE NUMBERS(S)                      LEASED PROPERTY                Undetermined N/A                                           Undetermined
101 & 102, SUITE 103A, 104B STORAGE
SPACE, FIRST (1ST)FLOOR(S), 2431W.
COAST HIGHWAY, NEW PORT BEACH,
COUNTY OF ORANGE, CALIFORNIA,92660
                                                                                                       TOTAL                                    $32,588,475.72
                                                                                                                                         + Undetermined Amounts




                                                                              Page 2 of 2
                   Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 28 of 154
Debtor Name: Hornblower Yachts, LLC                                                                              Case Number: 24-90096 (MI)

                                                       Assets - Real and Personal Property

                                      Part 11, Question 72: Tax refunds and unused net operating losses (NOLs)



Tax refunds and unused net operating losses (NOLs)                                                Tax year       Current value of debtor's
Description (for example, federal, state, local)                                                                 interest

FEDERAL                                                                                           2019                             $5,888,634.00


FEDERAL                                                                                           2020                            $25,466,620.00


FEDERAL                                                                                           2022                             $1,463,601.00


                                                                                                  TOTAL                           $32,818,855.00




                                                                    Page 1 of 1
                   Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 29 of 154
Debtor Name: Hornblower Yachts, LLC                                                                             Case Number: 24-90096 (MI)

                                                        Assets - Real and Personal Property


                                          Part 11, Question 77: Other property of any kind not already listed



Other property of any kind not already listed                                      Current value of debtor's
Examples: Season tickets, country club membership                                  interest
INTERCOMPANY RECEIVABLE FROM ALCATRAZ CRUISES, LLC                                                                              $58,168,594.48


INTERCOMPANY RECEIVABLE FROM ALCATRAZ LANDING CAFE, INC.                                                                         $2,261,802.45


INTERCOMPANY RECEIVABLE FROM ALCATRAZ LANDING, LLC                                                                                 $101,752.71


INTERCOMPANY RECEIVABLE FROM HBAQ HOLDINGS, LP                                                                                   $3,351,870.00


INTERCOMPANY RECEIVABLE FROM HMS GLOBAL MARITIME, LLC                                                                               $61,803.00


INTERCOMPANY RECEIVABLE FROM HNY FERRY FLEET, LLC                                                                                $6,426,487.38


INTERCOMPANY RECEIVABLE FROM HORNBLOWER CABLE CARS, INC.                                                                         $1,656,774.73


INTERCOMPANY RECEIVABLE FROM HORNBLOWER CAPITAL                                                                                      $5,564.84
CORPORATION
INTERCOMPANY RECEIVABLE FROM HORNBLOWER DEVELOPMENT, LLC                                                                           $173,049.55


INTERCOMPANY RECEIVABLE FROM HORNBLOWER FERRY HOLDINGS,                                                                                 $65.00
LLC
INTERCOMPANY RECEIVABLE FROM HORNBLOWER FINANCE, LLC                                                                                 $1,292.00


INTERCOMPANY RECEIVABLE FROM HORNBLOWER GROUP, LLC                                                                                 $601,701.87


INTERCOMPANY RECEIVABLE FROM HORNBLOWER HOSPITALITY                                                                                $246,493.66
SERVICES, LLC
INTERCOMPANY RECEIVABLE FROM HORNBLOWER METRO FERRY, LLC                                                                         $3,098,510.75


INTERCOMPANY RECEIVABLE FROM HORNBLOWER METRO FLEET, LLC                                                                        $14,320,901.45


INTERCOMPANY RECEIVABLE FROM HORNBLOWER NEW YORK, LLC                                                                            $7,880,812.73


INTERCOMPANY RECEIVABLE FROM LIBERTY HOSPITALITY, LLC                                                                                   $18.00


INTERCOMPANY RECEIVABLE FROM LIBERTY LANDING FERRIES, LLC                                                                          $165,836.95


INTERCOMPANY RECEIVABLE FROM SAN FRANCISCO PIER 33, LLC                                                                            $329,087.01


INTERCOMPANY RECEIVABLE FROM STATUE CRUISES, LLC                                                                                $70,314,645.97


TOTAL                                                                                                                          $169,167,064.53




                                                                     Page 1 of 1
                   Case 24-90061
 Fill in this information              Document
                          to identify the case: 817                                       Filed in TXSB on 04/23/24 Page 30 of 154

 Debtor name        Hornblower Yachts, LLC

 United States Bankruptcy Court for the:           Southern District of Texas, Houston Division                                                        ¨ Check if this is an
                                                                                                                                                             amended filing
 Case number (If known):          24-90096 (MI)


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      þ Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims
                                                                                                                                   Column A                  Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                             Amount of Claim           Value of collateral
     secured claim, list the creditor separately for each claim.                                                                   Do not deduct the value   that supports this
                                                                                                                                   of collateral.            claim
2.1     Creditor's name                                              Describe debtor’s property that is subject to a lien
        ALTER DOMUS (US) LLC                                        AS OUTLINED IN THE CREDIT AGREEMENT
                                                                                                                                   $        Undetermined     $        Undetermined

        Creditor's mailing address
        ATTENTION: CHRIS CAPEZUTI
        225 W. WASHINGTON ST., 9TH FLOOR
        CHICAGO, IL 60606                                            Describe the lien
                                                                    GUARANTOR OF INCREMENTAL SUPERPRIORITY FACILITY


        Creditor's email address, if known                           Is the creditor an insider or related party?
        CPCAGENCY@ALTERDOMUS.COM                                     þ No
                                                                     ¨ Yes
        Date debt was incurred             11/17/2023
                                                                     Is anyone else liable on this claim?
        Last 4 digits of account                                     ¨ No
        number
                                                                     þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                               As of the petition filing date, the claim is:
                                                                     Check all that apply.
        ¨ No
        þ Yes. Specify each creditor, including this                 þ Contingent
            creditor, and its relative priority.                     þ Unliquidated
                  SEE SCHEDULE D DISCLOSURES                         ¨ Disputed
2.2     Creditor's name                                              Describe debtor’s property that is subject to a lien
        ALTER DOMUS (US) LLC                                         AS OUTLINED IN THE CREDIT AGREEMENT
                                                                                                                                   $        Undetermined     $        Undetermined
        Creditor's mailing address
        ATTENTION: LEGAL DEPARTMENT
        225 W. WASHINGTON ST., 9TH FLOOR
        CHICAGO, IL 60606                                            Describe the lien
                                                                     GUARANTOR OF SUPERPRIORITY FACILITY

        Creditor's email address, if known                           Is the creditor an insider or related party?
        LEGAL@ALTERDOMUS.COM                                         þ No
                                                                     ¨ Yes
        Date debt was incurred             11/10/2020
                                                                     Is anyone else liable on this claim?
        Last 4 digits of account                                     ¨ No
        number
                                                                     þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                               As of the petition filing date, the claim is:
                                                                     Check all that apply.
        ¨ No
        þ Yes. Have you already specified the relative               þ Contingent
            priority?                                                þ Unliquidated
            þ No. Specify each creditor, including this              ¨ Disputed
                      creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES

            ¨ Yes. The relative priority of creditors is
                       specified on lines

  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                              $




       Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                              Page 1 of 6
                          Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 31 of 154
Debtor     Hornblower Yachts, LLC                                                                         Case number (If known): 24-90096 (MI)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.3      Creditor's name                                     Describe debtor’s property that is subject to a lien
         ALTER DOMUS (US) LLC, AS COLLATERAL                 AS PROVIDED IN THE UCC FINANCING STATEMENT
         AGENT
                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         225 W. WASHINGTON ST.
         9TH FLOOR
         CHICAGO, IL 60606                                   Describe the lien
                                                            UCC FINANCING STATEMENT: U200031231824


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.4      Creditor's name                                     Describe debtor’s property that is subject to a lien
         ARGONAUT INSURANCE COMPANY                          AS PROVIDED IN THE UCC FINANCING STATEMENT

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         13100 WORTHAM CENTER DR
         STE. 290
         HOUSTON, TX 77065                                   Describe the lien
                                                            UCC FINANCING STATEMENT: 207788136628


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   Page 2 of 6
                          Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 32 of 154
Debtor     Hornblower Yachts, LLC                                                                         Case number (If known): 24-90096 (MI)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.5      Creditor's name                                     Describe debtor’s property that is subject to a lien
         GLAS TRUST COMPANY LLC                              AS OUTLINED IN THE CREDIT AGREEMENT

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         3 SECOND STREET, SUITE 206
         JERSEY CITY, NJ 07311
                                                             Describe the lien
                                                            GUARANTOR OF FIRST LIEN TERM FACILITY


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           4/27/2018
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.6      Creditor's name                                     Describe debtor’s property that is subject to a lien
         GLAS TRUST COMPANY LLC                              AS OUTLINED IN THE CREDIT AGREEMENT

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         3 SECOND STREET, SUITE 206
         JERSEY CITY, NJ 07311
                                                             Describe the lien
                                                            GUARANTOR OF REVOLVER TERM-OUT FACILITY


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           4/27/2018
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   Page 3 of 6
                          Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 33 of 154
Debtor     Hornblower Yachts, LLC                                                                         Case number (If known): 24-90096 (MI)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.7      Creditor's name                                     Describe debtor’s property that is subject to a lien
         UBS AG, STAMFORD BRANCH                             AS OUTLINED IN THE CREDIT AGREEMENT

                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         ATTENTION: AGENCY GROUP
         600 WASHINGTON BOULEVARD
         STAMFORD, CT 06901                                  Describe the lien
                                                            GUARANTOR OF REVOLVER FACILITY


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?
         AGENCY-UBSAMERICAS@UBS.COM
                                                              þ No
                                                              ¨ Yes
         Date debt was incurred           5/13/2020
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.8      Creditor's name                                     Describe debtor’s property that is subject to a lien
         UBS AG, STAMFORD BRANCH, AS                         AS PROVIDED IN THE UCC FINANCING STATEMENT
         COLLATERAL AGENT
                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         600 WASHINGTON BOULEVARD
         STAMFORD, CT 06901
                                                             Describe the lien
                                                            UCC FINANCING STATEMENT: 207778842803


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   Page 4 of 6
                          Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 34 of 154
Debtor     Hornblower Yachts, LLC                                                                         Case number (If known): 24-90096 (MI)
           Name


                                                                                                                                 Column A                Column B
   Part 1:         Additional Page                                                                                               Amount of Claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                         of collateral.          claim
   from the previous page.

2.9      Creditor's name                                     Describe debtor’s property that is subject to a lien
         UBS AG, STAMFORD BRANCH, AS                         AS PROVIDED IN THE UCC FINANCING STATEMENT
         COLLATERAL AGENT
                                                                                                                                  $        Undetermined $         Undetermined
         Creditor's mailing address
         600 WASHINGTON BOULEVARD
         STAMFORD, CT 06901
                                                             Describe the lien
                                                            UCC FINANCING STATEMENT: U220248526226


         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              þ No
                                                              ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              þ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                   þ Contingent
                                                              þ Unliquidated
             þ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.
                    SEE SCHEDULE D DISCLOSURES


             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.10     Creditor's name                                     Describe debtor’s property that is subject to a lien



                                                                                                                                  $                      $
         Creditor's mailing address



                                                             Describe the lien




         Creditor's email address, if known
                                                              Is the creditor an insider or related party?

                                                              ¨ No
                                                              ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                              Is anyone else liable on this claim?
         number
                                                              ¨ No
                                                              ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                              As of the petition filing date, the claim is:
         ¨ No                                                 Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                   ¨ Contingent
                                                              ¨ Unliquidated
             ¨ No. Specify each creditor, including this      ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   Page 5 of 6
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 35 of 154
 Debtor    Hornblower Yachts, LLC                                                                       Case number (If known):     24-90096 (MI)
           Name



Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity

   ALTER DOMUS (US) LLC
   ATTENTION: LEGAL DEPARTMENT                                                                                         Line 2.      1
   225 W. WASHINGTON ST., 9TH FLOOR
   CHICAGO, IL 60606


   ALTER DOMUS (US) LLC
   C/O NORTON ROSE FULBRIGHT US LLP                                                                                    Line 2.      1
   ATTENTION: H. STEPHEN CASTRO
   1301 6TH AVENUE
   NEW YORK, NY 10019

   ALTER DOMUS (US) LLC
   MILBANK LLP                                                                                                         Line 2.      1
   ATTENTION: MAYA GRANT
   55 HUDSON YARDS
   NEW YORK, NY 10001

   ALTER DOMUS (US) LLC
   ATTENTION: STEVE LENARD                                                                                             Line 2.      2
   225 W. WASHINGTON ST., 9TH FLOOR
   CHICAGO, IL 60606


   ALTER DOMUS (US) LLC
   C/O NORTON ROSE FULBRIGHT US LLP                                                                                    Line 2.      2
   ATTENTION: H. STEPHEN CASTRO
   1301 6TH AVENUE
   NEW YORK, NY 10019

   ALTER DOMUS (US) LLC
   C/O SHEARMAN & STERLING LLP                                                                                         Line 2.      2
   ATTENTION: TOMASZ KULAWIK
   599 LEXINGTON AVENUE
   NEW YORK, NY 10022-6069

   ALTER DOMUS (US) LLC
   C/O SHEARMAN & STERLING LLP                                                                                         Line 2.      2
   ATTENTION: JOEL MOSS
   599 LEXINGTON AVENUE
   NEW YORK, NY 10022-6069

   ALTER DOMUS (US) LLC
   C/O SHEARMAN & STERLING LLP                                                                                         Line 2.      2
   ATTENTION: NED SCHODEK
   599 LEXINGTON AVENUE
   NEW YORK, NY 10022-6069

   GLAS TRUST COMPANY LLC
   ATTENTION: JEFFREY R. GLEIT                                                                                         Line 2.      5
   C/O ARENTFOX SCHIFF LLP
   1301 AVENUE OF THE AMERICAS, 42ND FLOOR
   NEW YORK, NY 10019

   GLAS TRUST COMPANY LLC
   ATTENTION: JEFFREY R. GLEIT                                                                                         Line 2.      6
   C/O ARENTFOX SCHIFF LLP
   1301 AVENUE OF THE AMERICAS, 42ND FLOOR
   NEW YORK, NY 10019

   UBS AG, STAMFORD BRANCH
   C/O CAHILL GORDON & REINDEL LLP                                                                                     Line 2.      7
   32 OLD SLIP
   NEW YORK, NY 10005



    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 6 of 6
                       Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 36 of 154
   Fill in this information to identify the case:

    Debtor       Hornblower Yachts, LLC


    United States Bankruptcy Court for the:   Southern District of Texas, Houston Division
                                                                                                                                            ¨ Check if this is an
    Case number      24-90096 (MI)                                                                                                                amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    þ No. Go to Part 2.
    ¨ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                         Total claim          Priority amount
2.1 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes
2.2 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes
2.3 Priority creditor’s name and mailing address                     As of the petition filing date, the claim is:   $                        $
                                                                     Check all that apply.
                                                                     ¨ Contingent
                                                                     ¨ Unliquidated
                                                                     ¨ Disputed
                                                                     Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                           Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                     ¨ No
    claim: 11 U.S.C. § 507(a) ()                                     ¨ Yes


  Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 1 of 47
  Debtor             Case 24-90061 Document 817 Filed in TXSB on Case
             Hornblower Yachts, LLC                              04/23/24          Page24-90096
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             Name


 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      0760 CUBESMART CA WEST SACRAMENTO                                 Check all that apply.                            $                          1,078.00
      2525 S IH 35 FRONTAGE RD                                          ¨ Contingent
      AUSTIN, TX 78741
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE PAYABLE

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      2436PCH LLC                                                       Check all that apply.                            $                          2,520.00
      2505 WEST COAST HIGHWAY, STE 201                                  ¨ Contingent
      NEWPORT BEACH, CA 92663
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE PAYABLE

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      2523 PCH PROPERTIES LLC                                           Check all that apply.                            $                        201,989.45
      2505 WEST COAST HIGHWAY, STE 201                                  ¨ Contingent
      NEWPORT BEACH, CA 92663
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE PAYABLE

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      360TRAINING.COM, INC.                                             Check all that apply.                            $                          2,011.64
      DEPT. 3836, PO BOX 123836                                         ¨ Contingent
      DALLAS, TX 75312-3836
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE PAYABLE

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      A-1 SELF STORAGE                                                  Check all that apply.                            $                           582.00
      3200 NATIONAL CITY BLVD                                           ¨ Contingent
      NATIONAL CITY, CA 91950
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE PAYABLE

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      AAA FIRE PROTECTION SERVICES                                      Check all that apply.                            $                          1,490.00
      P.O. BOX 3626                                                     þ Contingent
      HAYWARD, CA 94540
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: TRADE PAYABLE

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                UNDETERMINED
                                                                        þ No
      Last 4 digits of account number                                   ¨ Yes




  Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 47
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.7   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,700.00
      ACCENT WEDDINGS AND EVENTS, LLC
      5694 MISSION CENTER ROAD                                      þ Contingent
      PMB 602-171                                                   ¨ Unliquidated
      SAN DIEGO, CA 92108                                           ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



      Date or dates debt was incurred      UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.8   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,634.46
      ACE UNIFORMS AND ACCESSORIES, INC
      633 16TH STREET                                               ¨ Contingent
      SAN DIEGO, CA 92101                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



      Date or dates debt was incurred      UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.9   Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    185.00
      ADA VISUAL PRODUCTS (JOSEPH DRUCKER)
      711 WEST 17TH STREET - G3                                     ¨ Contingent
      COSTA MESA, CA 92627                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



      Date or dates debt was incurred      UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.10 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,726.52
      AFTERHOURS CUSTOM INSTALLATION SPECIALISTS
      17061 CALIFORNIA AVE                                          ¨ Contingent
      BELLFLOWER, CA 90706                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



      Date or dates debt was incurred      UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes

3.11 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    365.50
      AGS QUALITY LINEN, INC.
      915 LINDEN AVENUE, SUITE A                                    ¨ Contingent
      SOUTH SAN FRANCISCO, CA 94080                                 ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



      Date or dates debt was incurred      UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
      Last 4 digits of account number                               ¨ Yes


  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                               Page 3 of 47
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.12 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                     2,430.48
    AIRGAS USA LLC
    6055 ROCKSIDE WOODS BLVD.                                       ¨ Contingent
    INDEPENDENCE, OH 44131                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.13 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   24,910.00
    AL LARSON BOAT SHOP, INC.
    1046 S. SEASIDE AVE                                             þ Contingent
    TERMINAL ISLAND, CA 90731                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.14 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 4,794,373.32
    ALCATRAZ FLEET, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO ALCATRAZ FLEET, LLC



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.15 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  135,223.00
    ALCATRAZ FREEDOM, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO ALCATRAZ FREEDOM,
                                                                    LLC


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.16 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 3,348,552.83
    ALCATRAZ ISLAND SERVICES, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO ALCATRAZ ISLAND
                                                                    SERVICES, LLC


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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 Part 2:    Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.17 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,223.76
    ALLEN BROTHERS WEST
    PO BOX 101831                                                   ¨ Contingent
    PASADENA, CA 91189-1831                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.18 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,147.31
    AMAZON CAPITAL SERVICES
    PO BOX 035184                                                   þ Contingent
    SEATTLE, WA 98124-5184                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.19 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    620.02
    AMERICAN PAPER AND PROVISIONS
    550 SOUTH 7TH AVENUE                                            ¨ Contingent
    CITY OF INDUSTRY, CA 91746                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.20 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    270.00
    AMERICAN PROTECTION SECURITY
    314 E ROWLAND ST                                                ¨ Contingent
    COVINA, CA 91723                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.21 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    257.60
    AMERICAN RED CROSS
    25688 NETWORK PLACE                                             ¨ Contingent
    CHICAGO, IL 60673-1256                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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 Part 2:    Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    273.00
    ANHEUSER-BUSCH SALES OF S.D.
    5959 SANTA FE ST                                                ¨ Contingent
    SAN DIEGO, CA 92109                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.23 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    780.00
    ANTONIO CORONA
    ADDRESS ON FILE                                                 þ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.24 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $              Undetermined
    ARISTY, MICHELE
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: EMPLOYEE DISPUTE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 ¨ Yes

3.25 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    680.00
    ASHBY FLOWERS
    ATTN: ACCOUNTS RECEIVABLE                                       ¨ Contingent
    3000 TELEGRAPH AVE.                                             ¨ Unliquidated
    BERKELEY, CA 94705                                              ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.26 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        110.00
    BACKFLOW SERVICES, INC.
    9540 PATHWAY STE 103                                            ¨ Contingent
    SANTEE, CA 92071                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.27 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 263,979.53
    BAY SHIP & YACHT CO
    2900 MAIN STREET                                                þ Contingent
    SUITE 2100                                                      ¨ Unliquidated
    ALAMEDA, CA 94501                                               ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.28 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  74,798.00
    BAY STATE, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO BAY STATE, LLC



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.29 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    859.92
    BBJ RENTALS INC.
    PO BOX 776976                                                   þ Contingent
    CHICAGO, IL 60677-6976                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.30 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  38,547.64
    BCM ONE INC
    PO BOX 36204                                                    ¨ Contingent
    NEWARK, NJ 07188-0001                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.31 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,642.64
    BOATSWAIN'S LOCKER, INC.
    931 W 18TH STREET                                               ¨ Contingent
    COSTA MESA, CA 92627                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.32 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,189.79
    BOSTON HARBOR CRUISES, LLC
    1 LONG WHARF                                                    ¨ Contingent
    BOSTON, MA 02110                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO BOSTON HARBOR
                                                                    CRUISES, LLC


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.33 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   4,846.22
    BREAKTHRU BEVERAGE CALIFORNIA LLC
    PO BOX 910900                                                   þ Contingent
    LOS ANGELES, CA 90091-0900                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.34 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   7,161.00
    C & W DIVING SERVICES, INC.
    P.O. BOX 2433                                                   þ Contingent
    NATIONAL CITY, CA 91951-24331706                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.35 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,168.02
    CAL MARINE ELECTRONICS
    40 PIER, STE #14                                                þ Contingent
    SAN FRANCISCO, CA 94107                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.36 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        95.00
    CALIFORNIA SHELLFISH CO. (BERKELEY)
    P O BOX 2028                                                    ¨ Contingent
    SAN FRANCISCO, CA 94126                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.37 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    386.62
    CANON FINANCIAL SERVICES , INC
    CONTRACT 001-0184314-004                                        ¨ Contingent
    14904 COLLECTIONS CENTER DRIVE                                  ¨ Unliquidated
    CHICAGO, IL 60693-0149                                          ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.38 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    286.46
    CANON FINANCIAL SERVICES INC.
    CONTRACT 001-0184314-004                                        ¨ Contingent
    14904 COLLECTIONS CENTER DRIVE                                  ¨ Unliquidated
    CHICAGO, IL 60693-0149                                          ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.39 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 60,000.00
    CAPITAL INDUSTRIAL RESTORATION
    2538 MERCANTILE DR.                                             þ Contingent
    RANCHO CORDOVA, CA 95742                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.40 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    200.00
    CAPTAIN PUMPOUT
    333 W HARBOR DR                                                 ¨ Contingent
    SAN DIEGO, CA 92101                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.41 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,453.31
    CDW DIRECT
    200 N MILWAUKEE AVE.                                            ¨ Contingent
    VERNON HILLS, IL 60061                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.42 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    219.24
    CENTER HARDWARE
    3003 THIRD STREET                                               ¨ Contingent
    SAN FRANCISCO, CA 94107                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.43 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,435.59
    CENTRAL MEAT & PROVISION CO.
    1603 NATIONAL AVENUE                                            ¨ Contingent
    SAN DIEGO, CA 92113                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.44 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 60,438.99
    CHASE CREDIT CARD
    270 PARK AVE                                                    þ Contingent
    NEW YORK, NY 10017                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.45 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    262.52
    CHEF WORKS
    1801 W OLYMPIC BLVD                                             ¨ Contingent
    PASADENA, CA 91199-2438                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.46 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,610.59
    CITY & COUNTY OF SAN FRANCISCO
    OFFICE OF LABOR STANDARDS ENFORCEMENT                           þ Contingent
    ATTN: BEVERLY POPEK                                             ¨ Unliquidated
    SAN FRANCISCO, CA 94102                                         ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.47 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,281.22
    CITY OF NEWPORT BEACH (WATER)
    100 CIVIC CENTER DRIVE                                          þ Contingent
    NEWPORT BEACH, CA 92660                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.48 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,297.29
    CITY OF SACRAMENTO (DOCK FEES)
    CENTER FOR SACRAMENTO HISTORY                                   ¨ Contingent
    551 SEQUOIA PACIFIC BLVD.                                       ¨ Unliquidated
    SACRAMENTO, CA 95811                                            ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.49 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        51.84
    CITY OF SAN DIEGO WATER
    OFFICE OF THE CITY TREASURER                                    ¨ Contingent
    1200 THIRD AVENUE, SUITE 100                                    ¨ Unliquidated
    SAN DIEGO, CA 92101                                             ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.50 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    459.30
    COLLABORATIVE BOATING INC.
    333 LAS OLAS WAY                                                ¨ Contingent
    SUITE 323                                                       ¨ Unliquidated
    FORT LAUDERDALE, FL 33301                                       ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.51 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 20,028.67
    COLONNA'S SHIPYARD
    PO BOX 890461                                                   þ Contingent
    CHARLOTTE, NC 28289-0461                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.52 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,025.05
    COMPLETE LINEN SERVICE
    290 S MAPLE AVE                                                 þ Contingent
    SOUTH SAN FRANCISCO, CA 94080                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.53 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    380.00
    COOL RITE REFRIGERATION INC.
    PO BOX 475850                                                   ¨ Contingent
    SAN FRANCISCO, CA 94147                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.54 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,045.00
    COSCO FIRE PROTECTION INC
    7455 LONGARD RD.                                                ¨ Contingent
    LIVERMORE, CA 94551                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.55 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,454.67
    COUNTY OF LOS ANGELES PUBLIC HEALTH
    5050 COMMERCE DRIVE                                             þ Contingent
    BALDWIN PARK, CA 91706                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.56 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,078.00
    COX, CASTLE & NICHOLSON LLP
    2029 CENTURY PARK EAST                                          ¨ Contingent
    SUITE 2100                                                      ¨ Unliquidated
    LOS ANGELES, CA 90067                                           ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.57 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,992.50
    CREST BEVERAGE LLC
    P O BOX 848536                                                  þ Contingent
    LOS ANGELES, CA 90084-8536                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.58 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,409.34
    DIESEL DIRECT WEST
    3861 DUCK CREEK DR.                                             þ Contingent
    STOCKTON, CA 95215                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.59 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 22,680.00
    DM ARTISTIC ENTERPRISES
    17262 BROOKLYN AVE                                              þ Contingent
    YORBA LINDA, CA 92886                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.60 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    993.60
    DUCKHORN WINE COMPANY
    DEPT.LA 24662                                                   þ Contingent
    PASADENA, CA 91185-4662                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.61 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,280.39
    EDCO DISPOSAL CORPORATION
    6670 FEDERAL BLVD.                                              ¨ Contingent
    LEMON GROVE, CA 91945                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.62 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    175.00
    ELEVATOR PROFESSIONALS INC.
    10441 LOMA RANCHO DRIVE                                         ¨ Contingent
    SPRING VALLEY, CA 91978                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.63 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,470.00
    ENVIRONMENTAL GREASE MANAGEMENT
    4425 FEDERAL BLVD #60                                           ¨ Contingent
    SAN DIEGO, CA 92102                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.64 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   1,140.00
    EVENT MEDIC NY INC
    901 NORTH BROADWAY                                              þ Contingent
    NORTH MASSAPEQUA, NY 11758                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.65 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        26.70
    FEDERAL EXPRESS CORP
    P.O. BOX 7221                                                   ¨ Contingent
    PASADENA, CA 91109-7321                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.66 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 480,954.68
    FERRYBOAT SANTA ROSA, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO FERRYBOAT SANTA
                                                                    ROSA, LLC


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.67 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  6,151.53
    FESCO FLOWERS ELECTRIC
    153 STARLITE STREET                                             ¨ Contingent
    SOUTH SAN FRANCISCO, CA 94080-6313                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.68 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  7,425.90
    FISHER & PHILLIPS LLP
    1075 PEACHTREE STREET NE                                        ¨ Contingent
    SUITE 3500                                                      ¨ Unliquidated
    ATLANTA, GA 30309                                               ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.69 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,846.50
    FLOWER DUET
    CASEY COLEMAN SCHWARTZ                                          ¨ Contingent
    2675 SKYPARK DR. 205                                            ¨ Unliquidated
    TORRANCE, CA 90505                                              ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.70 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    FOSTER, MINDY
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: EMPLOYEE DISPUTE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 ¨ Yes

3.71 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    398.44
    FS.COM INC
    380 CENTERPOINT BLVD.                                           ¨ Contingent
    NEW CASTLE, DE 19720                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.72 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    GALLUP, CHRIS
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: GENERAL LIABILITY CLAIM



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 ¨ Yes

3.73 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    563.49
    GBS
    305 NORTH MULLER ST.                                            þ Contingent
    ANAHEIM, CA 92801                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.74 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    430.83
    GBS LINENS MDR
    305 NORTH MULLER STREET                                         ¨ Contingent
    ANAHEIM, CA 92801                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.75 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   2,591.38
    GLOBAL MUSIC RIGHTS
    1100 GLENDON AVE, FL 10                                         þ Contingent
    LOS ANGELES, CA 90024                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: ACCRUED LIABILITIES



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 ¨ Yes

3.76 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 247,240.28
    GOLD COAST VILLAGE, LLC
    13575 MINDANAO WAY                                              ¨ Contingent
    MARINA DEL REY, CA 90292                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.77 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
    GOLDEN GATE BRIDGE HIGHWAY & TRANS
    ACCOUNTS RECEIVABLE                                             ¨ Contingent
    BOX 9000, PRESIDIO STATION                                      ¨ Unliquidated
    SAN FRANCISCO, CA 94129-0601                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.78 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,393.95
    GORDON & REES
    ADDRESS ON FILE                                                 ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.79 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    234.00
    GRAH SAFE & LOCK INC.
    939 UNIVERSITY AVENUE                                           ¨ Contingent
    SAN DIEGO, CA 92103                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.80 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,132.97
    GRAINGER
    100 GRAINGER PARKWAY                                            þ Contingent
    LAKE FOREST, IL 60045-5201                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.81 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,369.50
    GREENBERG TRAURIG, LLP
    101 SECOND ST.                                                  ¨ Contingent
    SUITE 200                                                       ¨ Unliquidated
    SAN FRANCISCO, CA 94105-3668                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.82 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,543.85
    HAMILTON MEATS AND PROVISIONS
    3515 MAIN STREET STE 208                                        ¨ Contingent
    CHULA VISTA, CA 91911                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.83 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    192.17
    HARBOR DIESEL & EQUIP.
    537 W ANAHEIM ST                                                ¨ Contingent
    LONG BEACH, CA 90813                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.84 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    878.35
    HARBOR DISTRIBUTING, LLC
    PO BOX 842685                                                   ¨ Contingent
    LOS ANGELES, CA 90084-2685                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.85 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    543.36
    HARBOR ISLAND FUEL DOCK
    2040 HARBOR ISLAND DRIVE                                        ¨ Contingent
    SAN DIEGO, CA 92101                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.86 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
    HASSELBRINK, ZACHARY
    ADDRESS ON FILE                                                 þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: CREW MEMBER PERSONAL INJURY



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
    Last 4 digits of account number                                 ¨ Yes


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3.87 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,240.00
    HINMAN & CARMICHAEL LLP
    260 CALIFORNIA STREET                                           ¨ Contingent
    SUITE 700                                                       ¨ Unliquidated
    SAN FRANCISCO, CA 94111                                         ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.88 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        84.51
    HMS FERRIES - PUERTO RICO, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HMS FERRIES - PUERTO
                                                                    RICO, LLC


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.89 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             35,962,230.84
    HNY FERRY, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HNY FERRY, LLC



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.90 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,345.28
    HOBART SERVICE
    ITW FOOD EQUIPMENT GROUP LLC                                    ¨ Contingent
    P O BOX 2517                                                    ¨ Unliquidated
    CAROL STREAM, IL 60132-2517                                     ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.91 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             14,580,144.95
    HORNBLOWER CRUISES AND EVENTS, INC.
    455 N. CITYFRONT PLAZA DR., STE. 2600                           ¨ Contingent
    CHICAGO, IL 60611                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HORNBLOWER CRUISES
                                                                    AND EVENTS, INC.


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.92 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             12,522,463.84
    HORNBLOWER CRUISES AND EVENTS, LLC
    455 N. CITYFRONT PLAZA DR., STE. 2600                           ¨ Contingent
    CHICAGO, IL 60611                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HORNBLOWER CRUISES
                                                                    AND EVENTS, LLC


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.93 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             32,092,655.38
    HORNBLOWER FLEET, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HORNBLOWER FLEET,
                                                                    LLC


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.94 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $            196,409,032.52
    HORNBLOWER GROUP, INC.
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HORNBLOWER GROUP,
                                                                    INC.


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.95 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 3,308,654.12
    HORNBLOWER SHIPYARD, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HORNBLOWER
                                                                    SHIPYARD, LLC


    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes

3.96 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  556,162.05
    HORNBLOWER SUB, LLC
    PIER 3, THE EMBARCADERO                                         ¨ Contingent
    SAN FRANCISCO, CA 94111                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HORNBLOWER SUB, LLC



    Date or dates debt was incurred       UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
    Last 4 digits of account number                                 ¨ Yes


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3.97 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 68,615.15
     HORNBLOWER VESSEL CONSTRUCTION
     PIER 3, THE EMBARCADERO                                        ¨ Contingent
     SAN FRANCISCO, CA 94111                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO HORNBLOWER VESSEL
                                                                    CONSTRUCTION


     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.98 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    136.88
     ICON INTERNATIONAL, INC.
     17 EASTFIEL DR                                                 ¨ Contingent
     ROLLING HILLS, CA 90274                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.99 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    125.25
     IDEMIA IDENTITY & SECURITY
     11951 FREEDOM DR, STE 1800                                     þ Contingent
     RESTON, VA 20190                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.100 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    210.68
     INGARDIA BROS. PRODUCE
     700 S. HATHAWAY ST.                                            þ Contingent
     SANTA ANA, CA 92705-4126                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.101 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,194.05
     INGARDIA BROS. PRODUCE INC.
     700 S. HATHAWAY ST.                                            ¨ Contingent
     SANTA ANA, CA 92705-4126                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.102 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 41,159.67
     INSTAWORK- GARUDA LABS, INC.
     25476, 14005 LIVE OAK AVE                                      ¨ Contingent
     IRWINDALE, CA 91706-1300                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.103 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,823.56
     INTREPID MARINE
     1341 SAN BRUNO AVENUE                                          þ Contingent
     SAN FRANCISCO, CA 94110                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.104 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 96,600.00
     JJ AUDUBON, LLC
     PIER 3, THE EMBARCADERO                                        ¨ Contingent
     SAN FRANCISCO, CA 94111                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO JJ AUDUBON, LLC



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.105 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,165.00
     JOHN VALENTE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.106 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,350.00
     JOSE CERVANTES
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.107 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   30,006.77
     KOFFLER ELECTRICAL MECHANICAL APPARATUS REPAIR, INC.
     527 WHITNEY ST                                                 þ Contingent
     SAN LEANDRO, CA 94577                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.108 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    1,024.04
     KONICA MINOLTA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.109 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                      200.00
     L.A. COUNTY DEPT. OF BEACHES & HARBORS
     ATTN; LAZ PARKING                                              þ Contingent
     4519 ADMIRALTY WAY, SUITE B                                    ¨ Unliquidated
     MARINA DEL REY, CA 90292                                       ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.110 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    1,447.46
     LE CHEF BAKERY
     7547 TELEGRAPH ROAD                                            ¨ Contingent
     MONTEBELLO, CA 90640                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.111 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 5,111,504.70
     LIBERTY FLEET, LLC
     PIER 3, THE EMBARCADERO                                        ¨ Contingent
     SAN FRANCISCO, CA 94111                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO LIBERTY FLEET, LLC



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.112 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    429.58
     LIQUID ENVIRONMENTAL SOLUTIONS
     ATTN: ACCOUNTS RECEIVABLE                                      ¨ Contingent
     PO BOX 733372                                                  ¨ Unliquidated
     DALLAS, TX 75373-3372                                          ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.113 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     LITTLEJOHN, ROBERT GRAHAM
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: GENERAL LIABILITY CLAIM



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.114 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,102.94
     LITTLER MENDELSON PC
     P.O. BOX 207137                                                ¨ Contingent
     DALLAS, TX 75320-7137                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.115 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    124.00
     LLOYD PEST CONTROL
     1331 MORENA BLVD #300                                          þ Contingent
     SAN DIEGO, CA 92110-1598                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.116 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    250.00
     LOEWS MARINA
     9 W 57TH ST                                                    ¨ Contingent
     NEW YORK, NY 10019-2714                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.117 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,500.00
     LOS ANGELES TOURISM & CONVENTION BOARD
     633 WEST 5TH STREET, SUITE 1800                                ¨ Contingent
     LOS ANGELES, CA 90071                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.118 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,334.50
     LUX BUS AMERICA, CO.
     851 E.CERRITOS AVE.                                            ¨ Contingent
     ANAHEIM, CA 92805                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.119 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,384.55
     MADDOX INDUSTRIAL TRANSFORMER, LLC
     865 VICTOR HILL RD                                             ¨ Contingent
     GREER, SC 29651                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.120 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,002.00
     MAHANA DANCE COMPANY
     4771 CASTLE AVE                                                ¨ Contingent
     SAN DIEGO, CA 92105                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.121 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        50.00
     MARC ZIGLER-SALES
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.122 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 45,428.10
     MARINERS MILE, LLC
     2505 W. COAST HIGHWAY, STE 201                                 ¨ Contingent
     NEWPORT BEACH, CA 92663                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.123 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MARINER'S MILE, LLC
     2700 WEST COAST HWY                                            þ Contingent
     NEWPORT BEACH, CA 92663                                        þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: PROPERTY DAMAGE CLAIM



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.124 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  5,978.00
     MARRIOTT INTERNATIONAL
     7750 WISCONSIN AVE                                             ¨ Contingent
     BETHESDA, MD 20814                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.125 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MCDUFFIE, TATIANA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: POTENTIAL LITIGATION CLAIM



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.126 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 99,576.77
     MCGUIREWOODS LLP
     800 EAST CANAL STREET                                          ¨ Contingent
     RICHMOND, VA 23219                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.127 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,160.00
     MIB LIMOUSINE SERVICES LLC
     5644 KEARNY MESA RD SUITE T                                    ¨ Contingent
     SAN DIEGO, CA 92111                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.128 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    250.00
     MICHAEL WHITMAN
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.129 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     MILLER, LISA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: GENERAL LIABILITY CLAIM



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.130 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,231.93
     MINUTEMAN PRESS - DOWNTOWN
     1403 SIXTH AVENUE                                              ¨ Contingent
     SAN DIEGO, CA 92101                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.131 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,238.24
     MORGAN SERVICES
     905 YALE STREET                                                ¨ Contingent
     LOS ANGELES, CA 90012                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.132 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    800.00
     MR. STEAM, INC
     43-20 34TH ST                                                  ¨ Contingent
     LONG ISLAND CITY, NY 11101                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.133 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,870.50
     MUTUAL AID RESPONSE SERVICES
     PO BOX 99408                                                   ¨ Contingent
     EMERYVILLE, CA 94662-9408                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.134 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,200.00
     NB MARINER'S MILES, LLC
     2505 WEST COAST HWY STE 201                                    ¨ Contingent
     NEWPORT BEACH, CA 92663                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.135 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 89,663.78
     NCR CORPORATION
     P O BOX 198755                                                 ¨ Contingent
     ATLANTA, GA 30384-8755                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.136 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    150.00
     NEWPORT BEACH CHAMBER OF COMMERCE
     4343 VON KARMAN AVE, STE., 150-W                               ¨ Contingent
     NEWPORT BEACH, CA 92660                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.137 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 13,616.09
     NEWPORT MEAT
     P.O. BOX 19726                                                 þ Contingent
     IRVINE, CA 92623                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.138 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    290.00
     NUNEZ LANDSCAPE
     1477 MERIDIAN AVE                                              ¨ Contingent
     SAN JOSE, CA 95125                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.139 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,125.00
     O'BRIEN'S RESPONSE MNGMNT
     O'BRIEN'S RESPONSE MANAGEMANT INC                              þ Contingent
     2929 E IMPERIAL HWY                                            ¨ Unliquidated
     BREA, CA 92821                                                 ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.140 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    195.00
     ON TAP WATER SYSTEMS
     23785 EL TORO ROAD #439                                        ¨ Contingent
     LAKE FOREST, CA 92630                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.141 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    590.17
     ONE STOP REFRIGERATION
     1422 WEST BOULEVARD                                            ¨ Contingent
     LOS ANGELES, CA 90019                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.142 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    895.75
     OPERA PATISSERIES FINES
     2161 BELKNAP WAY                                               ¨ Contingent
     ESCONDIDO, CA 92027                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred       UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.143 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    452.99
     ORKIN
     PO BOX 740300                                                  ¨ Contingent
     CINCINNATI, OH 45274-0300                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred       UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.144 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    330.97
     ORKIN INC. MDR
     PO BOX 740300                                                  ¨ Contingent
     CINCINNATI, OH 45274-0300                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred       UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.145 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,066.59
     PACIFIC REFRIGERATION INC. A/C SERVICE CO.
     ATTN: CHRISTOPHER S. SCHLERF                                   ¨ Contingent
     2825 5TH AVE                                                   ¨ Unliquidated
     SAN DIEGO, CA 92103                                            ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred       UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.146 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 10,269.50
     PARKS, RECREATION, AND MARINE
     2760 N. STUDEBAKER RD                                          ¨ Contingent
     ATTN: ACCOUNTING OFFICE                                        ¨ Unliquidated
     LONG BEACH, CA 90815                                           ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred       UNDETERMINED             Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.147 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,080.00
     PATTY'S LINEN RENTALS
     2601 HOOVER AVE SUITE A-B                                      ¨ Contingent
     NATIONAL CITY, CA 91950                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.148 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    830.00
     PIXSTER PHOTOBOOTH, LLC
     4901 MORENA BLVD                                               ¨ Contingent
     SUITE 810                                                      ¨ Unliquidated
     SAN DIEGO, CA 92117                                            ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.149 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,407.00
     PK MARINE LLC
     PO BOX 85                                                      ¨ Contingent
     COLOMA, CA 95613                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.150 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 20,516.32
     PORT OF SAN DIEGO (SAN DIEGO UNIFIED PORT DISTRICT)
     P.O. BOX 120488                                                ¨ Contingent
     SAN DIEGO, CA 92112-0488                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.151 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 38,344.09
     PORT OF SAN FRANCISCO
     COMMERCIAL PROPERTY MANAGER                                    ¨ Contingent
     PIER 1                                                         ¨ Unliquidated
     SAN FRANCISCO, CA 94111                                        ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.152 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    324.25
     POSTKNIFE LLC
     S11251 FAIRVIEW RD                                             þ Contingent
     SPRING GREEN, WI 53588                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.153 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  4,146.50
     PRESTIGE AUDIO & ENTERTAINMENT
     7361 BIGNELL DRIVE                                             ¨ Contingent
     SAN DIEGO, CA 92139-1321                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.154 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    375.00
     PURE CLEANING SERVICES, LLC
     7435 PARK VILLAGE ROAD                                         ¨ Contingent
     SAN DIEGO, CA 92129                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.155 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    538.80
     REGAL WINE COMPANY
     ACCOUNT # 87058                                                þ Contingent
     PO BOX 2160                                                    ¨ Unliquidated
     WINDSOR, CA 95492                                              ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.156 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    225.00
     RICHARD A. WHITE
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.157 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    850.00
     RICHARD SAMORA
     ADDRESS ON FILE                                                ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.158 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,083.16
     RINGCENTRAL INC.
     20 DAVIS DRIVE                                                 ¨ Contingent
     BELMONT, CA 94002                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.159 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    570.00
     ROB GOGATZ PHOTOGRAPHY
     622 N PACIFIC ST                                               ¨ Contingent
     OCEANSIDE, CA 92054                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.160 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    915.00
     ROBERTO CHETTO SERVICE
     310 W. TICHNOR ST.                                             ¨ Contingent
     COMPTON, CA 90220                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.161 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     RODRIGUEZ, LIZBETH
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: GENERAL LIABILITY CLAIM



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.162 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     RODRIGUEZ, SAMANTHA
     ADDRESS ON FILE                                                þ Contingent
                                                                    þ Unliquidated
                                                                    þ Disputed
                                                                    Basis for the claim: EMPLOYEE DISPUTE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes

3.163 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,566.00
     ROMBAUER VINEYARDS
     PO BOX 51947                                                   ¨ Contingent
     LOS ANGELES, CA 90051-6247                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.164 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    176.24
     S&W DIESEL, INC.
     336 LAKME AVE                                                  ¨ Contingent
     WILMINGTON, CA 90744                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.165 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,896.78
     SADIE ROSE BAKING CO.
     2614 TEMPLE HEIGHTS DRIVE                                      ¨ Contingent
     OCEANSIDE, CA 92056                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.166 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 19,346.34
     SAN DIEGO GAS & ELECTRIC
     1801 S. ATLANTIC BLVD.                                         ¨ Contingent
     MONTEREY PARK, CA 91754                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.167 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,714.82
     SAN DIEGO MARINE EXCHANGE, INC.
     2636 SHELTER ISLAND DR.                                        ¨ Contingent
     SAN DIEGO, CA 92106                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.168 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,808.00
     SAN DIEGO MARRIOTT MARINA
     333 W HARBOR DR                                                ¨ Contingent
     SAN DIEGO, CA 92101                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.169 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    258.93
     SAN FRANCISCO SPECIALTY FOOD
     1340 TULLY RD SUITE 311                                        ¨ Contingent
     SAN JOSE, CA 95122                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.170 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 44,087.64
     SAN FRANCISCO TAX COLLECTOR
     P.O. BOX 7426                                                  þ Contingent
     SAN FRANCISCO, CA 94120                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.171 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,797.54
     SANTA MONICA SEAFOOD
     18531 S. BROADWICK STREET                                      ¨ Contingent
     RANCHO DOMINGUEZ, CA 90220                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.172 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,309.25
     SAVORY GOURMET
     13720 S. GRAMERCY PLACE                                        ¨ Contingent
     GARDENA, CA 90249                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.173 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 16,315.99
     SC COMMERCIAL, LLC
     1800 W KATELLA AVE, STE 400                                    ¨ Contingent
     ORANGE, CA 92867                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.174 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    200.00
     SEAMARK GENERAL BOAT REPAIR
     13444 BALI WAY                                                 ¨ Contingent
     MARINA DEL REY, CA 90292                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.175 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 33,547.48
     SEAWARD SERVICES, INC.
     203 W. 1ST STREET, SUITE A                                     ¨ Contingent
     NEW ALBANY, IN 47150                                           ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO SEAWARD SERVICES,
                                                                    INC.


     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.176 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,950.28
     SENSATIONAL TREATS
     10531 4S COMMONS DRIVE #491                                    ¨ Contingent
     SAN DIEGO, CA 92127                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.177 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,885.27
     SIGNARAMA-SAN DIEGO
     9340 HAZARD WAY, STE A3                                        ¨ Contingent
     SAN DIEGO, CA 92123                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.178 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        62.34
     SO. CALIF. EDISON
     PO BOX 600                                                     ¨ Contingent
     ROSEMEAD, CA 91771-0001                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.179 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    390.82
     SOCALGAS PO BOX C
     PO BOX C                                                       ¨ Contingent
     MONTEREY PARK, CA 91756-5111                                   ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.180 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,289.40
     SOUTHERN CALIFORNIA EDISON
     2244 WALNUT GROVE AVE.                                         ¨ Contingent
     ROSEMEAD, CA 91770                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.181 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    103.83
     SPARKLETTS
     P.O. BOX 660579                                                ¨ Contingent
     DALLAS, TX 75266-0579                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.182 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    937.83
     SPECIALTY PRODUCE
     P.O. BOX 82066                                                 ¨ Contingent
     SAN DIEGO, CA 92138                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.183 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    234.72
     STAPLES ADV
     P.O. BOX 660409                                                ¨ Contingent
     DALLAS, TX 75266-0409                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.184 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                        75.00
     STATE WATER RESOURCES CONTROL BOARD
     ATTN WATER QUALITY FEES                                        þ Contingent
     P.O. BOX 1888                                                  ¨ Unliquidated
     SACRAMENTO, CA 95812-1888                                      ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.185 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 174,066.00
     STATUE OF LIBERTY IV, LLC
     PIER 3, THE EMBARCADERO                                        ¨ Contingent
     SAN FRANCISCO, CA 94111                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO STATUE OF LIBERTY IV,
                                                                    LLC


     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.186 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 349,072.00
     STATUE OF LIBERTY V, LLC
     PIER 3, THE EMBARCADERO                                        ¨ Contingent
     SAN FRANCISCO, CA 94111                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO STATUE OF LIBERTY V,
                                                                    LLC


     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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3.187 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 663,003.01
     STATUE OF LIBERTY VI, LLC
     PIER 3, THE EMBARCADERO                                        ¨ Contingent
     SAN FRANCISCO, CA 94111                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO STATUE OF LIBERTY VI,
                                                                    LLC


     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.188 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    226.08
     STERICYCLE, INC
     28883 NETWORK PLACE                                            ¨ Contingent
     CHICAGO, IL 60673-1288                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.189 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    257.60
     STONE BREWING COMPANY
     PO BOX 25667                                                   þ Contingent
     PASADENA, CA 91185                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.190 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $             Undetermined
     STRIPE, INC.
     354 OYSTER POINT BLVD                                          þ Contingent
     SOUTH SAN FRANCISCO, CA 94080                                  þ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: POTENTIAL CLAIM PURSUANT TO MERCHANT
                                                                    PROCESSING AGREEMENT


     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.191 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                   3,766.54
     STYLE GIFTS LTD.
     4901 MORENA BLVD.                                              ¨ Contingent
     STE 907                                                        ¨ Unliquidated
     SAN DIEGO, CA 92117                                            ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.192 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 11,905.30
     SUMMIT ELECTRIC SUPPLY
     PO BOX 848345                                                  þ Contingent
     DALLAS, TX 75284-8345                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.193 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    458.87
     SUNSET MARINE, INC.
     772 BROADWAY                                                   ¨ Contingent
     EL CAJON, CA 92021                                             ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.194 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 71,346.07
     SVENDSEN'S MARINE & INDUSTRIAL SUPPLY
     2900 MAIN STREET                                               þ Contingent
     SUITE 1900, MAILBOX 19                                         ¨ Unliquidated
     ALAMEDA, CA 94501                                              ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.195 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 17,008.82
     SYSCO BOSTON, LLC
     99 SPRING ST                                                   þ Contingent
     HOUSTON, TX 77077                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.196 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 27,535.51
     SYSCO SAN DIEGO, INC
     ACCT 728143                                                    þ Contingent
     1390 ENCLAVE PARKWAY                                           ¨ Unliquidated
     HOUSTON, TX 77077                                              ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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   Debtor
                   Case 24-90061 Document 817 Filed in TXSB onCase
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.197 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 15,952.78
     THE HARTFORD
     PO BOX 783690                                                  ¨ Contingent
     PHILADELPHIA, PA 19178-3690                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.198 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 93,010.39
     THE HILLER COMPANIES, LLC
     PO BOX 935434                                                  þ Contingent
     ATLANTA, GA 31193                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.199 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    291.00
     THE PLACE CATERING
     10785 POMERADO ROAD                                            ¨ Contingent
     SAN DIEGO, CA 92131                                            ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.200 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 12,838.79
     TOAST INC.
     401 PARK DR, STE 801                                           ¨ Contingent
     BOSTON, MA 02215                                               ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.201 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  2,582.61
     TOMSON HOSPITALITY BOUTIQUE
     6705 NW 36TH STREET                                            ¨ Contingent
     MIAMI, FL 33166                                                ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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   Debtor
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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.202 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  3,872.18
     TPX (TELEPACIFIC)
     PO BOX 60767                                                   ¨ Contingent
     LOS ANGELES, CA 90060-0767                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.203 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    481.72
     TPX COMMUNICATIONS
     303 COLORADO ST.                                               ¨ Contingent
     SAN DIEGO, TX 92150-9013                                       ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.204 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    774.54
     ULINE
     P.O. BOX 88741                                                 ¨ Contingent
     CHICAGO, IL 60680-1741                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.205 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    965.00
     UNITED FIRE SERVICES, INC.
     P.O. BOX 9007                                                  ¨ Contingent
     CANOGA PARK, CA 91309                                          ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.206 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,214.70
     UNITED RENTALS
     PO BOX 100711                                                  ¨ Contingent
     ATLANTA, GA 30384-0711                                         ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.207 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                 14,256.72
     VESTA FOODSERVICE/L.A. SPECIALTY
     PO BOX 2293                                                    þ Contingent
     SANTA FE SPRINGS, CA 90670                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.208 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,632.00
     VIKING LIFE-SAVING EQUIPMENT
     11255 NW 106TH STREET                                          þ Contingent
     SUITE 1                                                        ¨ Unliquidated
     MIAMI, FL 33178                                                ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.209 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    224.00
     WALKS, LLC (DELAWARE)
     PIER 3, THE EMBARCADERO                                        ¨ Contingent
     SAN FRANCISCO, CA 94111                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: INTERCOMPANY PAYABLE TO WALKS, LLC
                                                                    (DELAWARE)


     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.210 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    600.55
     WARMAN SECURITY
     1720 SACRAMENTO STREET                                         ¨ Contingent
     SAN FRANCISCO, CA 94109                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.211 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,500.00
     WASTE BUSTERS, INC
     1301 SOUTH 46TH STREET                                         ¨ Contingent
     BUILDING 154                                                   ¨ Unliquidated
     RICHMOND, CA 94804                                             ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.212 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,208.02
     WAXIE SANITARY SUPPLY
     P.O. BOX 748802                                                ¨ Contingent
     LOS ANGELES, CA 90074-8802                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.213 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  1,000.00
     WELK DIGITAL INNOVATIONS, LLC
     PO BOX 701                                                     ¨ Contingent
     RANCHO SANTA FE, CA 92067                                      ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.214 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  8,612.36
     WEST COAST PRIME MEATS
     344 CLIFFWOOD PARK                                             þ Contingent
     PASADENA, CA 91189-2189                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.215 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    417.62
     WEST MARINE PRO
     ACCT 9941572                                                   þ Contingent
     P.O. BOX 669336                                                ¨ Unliquidated
     DALLAS, TX 75266-9336                                          ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.216 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    860.00
     WHISK CAKE CREATIONS
     1930 MAIN STREET, #2                                           ¨ Contingent
     ALAMEDA, CA 94501                                              ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes


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  Part 2:   Additional Page

  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                    Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.217 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,201.23
     WILDSCAPE ENGINEERING INC.
     1901 AIRPORT RD.                                               ¨ Contingent
     SUITE 108                                                      ¨ Unliquidated
     S LAKE TAHOE, CA 96150                                         ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.218 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    631.66
     YOUNG'S MARKET CO
     P.O. BOX 743564                                                ¨ Contingent
     LOS ANGELES, CA 90074-3564                                     ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.219 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                    165.06
     ZEP MANUFACTURING COMPANY
     860 NESTLE WAY # 100                                           ¨ Contingent
     BREINIGSVILLE, PA 18031                                        ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.220 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $                  9,817.20
     ZEROREZ
     437 E 1000 S                                                   þ Contingent
     PLEASANT GROVE, UT 84062-3623                                  ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim: TRADE PAYABLE



     Date or dates debt was incurred      UNDETERMINED              Is the claim subject to offset?
                                                                    þ No
     Last 4 digits of account number                                ¨ Yes

3.221 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $
                                                                    ¨ Contingent
                                                                    ¨ Unliquidated
                                                                    ¨ Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred                                Is the claim subject to offset?
                                                                    ¨ No
     Last 4 digits of account number                                ¨ Yes


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   Debtor     Hornblower Yachts, LLC                                                                      Case number (If known):    24-90096 (MI)
              Name



Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.2                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




   Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 46 of 47
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                         Case 24-90061 Document 817 Filed in TXSB on 04/23/24
               Hornblower Yachts, LLC
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               Name


     Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a.     Total claims from Part 1                                                             5a.        $                           0.00




5b.     Total claims from Part 2                                                             5b.    +   $              312,773,073.92
                                                                                                                    + Undetermined Amounts




5c.     Total of Parts 1 and 2                                                               5c.        $              312,773,073.92
        Lines 5a + 5b = 5c.                                                                                         + Undetermined Amounts




      Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                       Page 47 of 47
                        Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 83 of 154
  Fill in this information to identify the case:

  Debtor name      Hornblower Yachts, LLC

  United States Bankruptcy Court for the:   Southern District of Texas, Houston Division
                                                                                                                                        þ Check if this is an
  Case number (If known):      24-90096 (MI)                                                                                                amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease
                                                STANDARD
         State what the contract or             INDUSTRIAL/COMMERCIAL                       2523 PCH PROPERTIES, LLC
 2.1     lease is for and the nature            SINGLE-TENANT LEASE - NET DATED             2505 WEST COAST HIGHWAY, STE 201
         of the debtor’s interest               01/01/2019 AND ALL RELATED                  NEWPORT BEACH, CA 92663
                                                AGREEMENTS
         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract

                                                STANDARD
         State what the contract or             INDUSTRIAL/COMMERCIAL                       2523 PCH PROPERTIES, LLC
 2.2     lease is for and the nature            SINGLE-TENANT LEASE - NET DATED             2505 WEST COAST HIGHWAY, STE 201
         of the debtor’s interest               01/01/2019 AND ALL RELATED                  NEWPORT BEACH, CA 92663
                                                AGREEMENTS
         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract

                                                STANDARD MULTI-TENANT OFFICE
         State what the contract or             LEASE - GROSS DATED 01/01/2016              AIR COMMERCIAL REAL ESTATE ASSOCIATION
 2.3     lease is for and the nature            AND ALL RELATED AGREEMENTS                  500 N BRAND BLVD, SUITE 900
         of the debtor’s interest                                                           GLENDALE, CA 91203

         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract

                                                MASTER SERVICE AGREEMEN
         State what the contract or             DATED 05/04/2020 AND ALL RELATED            BCM ONE, INC
 2.4     lease is for and the nature            AGREEMENTS                                  521 FIFTH AVENUE, 14TH FLOOR
         of the debtor’s interest                                                           NEW YORK, NY 10175

         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract

                                                MASTER SERVICE AGREEMEN
         State what the contract or             DATED 05/27/2020 AND ALL RELATED            BCM ONE, INC
 2.5     lease is for and the nature            AGREEMENTS                                  521 FIFTH AVENUE, 14TH FLOOR
         of the debtor’s interest                                                           NEW YORK, NY 10175

         State the term remaining               UNDETERMINED
         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                    Page 1 of 16
  Debtor
                       Case 24-90061 Document 817 Filed in TXSB on Case
              Hornblower Yachts, LLC
                                                                    04/23/24         Page 84 of 154
                                                                        number (If known): 24-90096 (MI)
              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired lease

                                         MASTER SERVICE AGREEMENT
           State what the contract or    DATED 02/08/2019 AND ALL RELATED BCM ONE, INC
 2.6       lease is for and the nature   AGREEMENTS                       521 FIFTH AVENUE, 14TH FLOOR
           of the debtor’s interest                                       NEW YORK, NY 10175

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         MASTER SERVICE AGREEMENT AND
           State what the contract or    ALL RELATED AGREEMENTS       BCM ONE, INC.
 2.7       lease is for and the nature                                521 FIFTH AVENUE, 14TH FLOOR
           of the debtor’s interest                                   NEW YORK, NY 10175

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SERVICE ORDER NO. 14 TO MASTER
           State what the contract or    SERVICE AGREEMENT AND ALL      BCM ONE, INC.
 2.8       lease is for and the nature   RELATED AGREEMENTS             521 FIFTH AVENUE, 14TH FLOOR
           of the debtor’s interest                                     NEW YORK, NY 10175

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         MASTER SERVICE AGREEMENT
           State what the contract or    DATED 02/08/2019 AND ALL RELATED BCM ONE, INC.
 2.9       lease is for and the nature   AGREEMENTS                       521 FIFTH AVENUE, 14TH FLOOR
           of the debtor’s interest                                       NEW YORK, NY 10175

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         AGREEMENT FOR USE OF DOCK AND OTHER
                                         FACILITIES BETWEEN BOYKIN BERKELEY, LLC
           State what the contract or    (BOYKIN) AND HORNBLOWER YACHTS, INC.
                                                                                   BOYKIN BERKELEY, LLC
 2.10      lease is for and the nature   (HORNBLOWER) DATED 05/28/2008 AND ALL     C/O WESTMONT HOSPITALITY GROUP, INC.
           of the debtor’s interest      RELATED AGREEMENTS                        5847 SAN FELIPE, SUITE 4650
                                                                                   HOUSTON, TX 77057
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         ORDER FORM AND ALL RELATED
           State what the contract or    AGREEMENTS                                BRAINSTORM
 2.11      lease is for and the nature                                             1620 PROFORMA AVE
           of the debtor’s interest                                                ONTARIO, CA 91716-7605

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         LEASE AGREEMENT AND ALL
           State what the contract or    RELATED AGREEMENTS                        CANON SOLUTIONS AMERICA, INC.
 2.12      lease is for and the nature                                             300 COMMERCE SQUARE BLVD.
           of the debtor’s interest                                                BURLINGTON, NJ 08016

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         FAXABLE LEASE AGREEMENT AND
           State what the contract or    ALL RELATED AGREEMENTS               CANON SOLUTIONS AMERICA, INC.
 2.13      lease is for and the nature                                        300 COMMERCE SQUARE BLVD.
           of the debtor’s interest                                           BURLINGTON, NJ 08016

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         CATO NETWORKS PROPOSAL
           State what the contract or    DATED 02/26/2019 AND ALL RELATED CATO NETWORKS
 2.14      lease is for and the nature   AGREEMENTS                       116 CHANGI ROAD,
           of the debtor’s interest                                       #03-09, WIS
                                                                          CHANGI,, 419718
           State the term remaining      UNDETERMINED                     SINGAPORE

           List the contract number of
           any government contract

                                         CATO NETWORKS PROPOSAL
           State what the contract or    DATED 06/16/2020 AND ALL RELATED CATO NETWORKS
 2.15      lease is for and the nature   AGREEMENTS                       116 CHANGI ROAD,
           of the debtor’s interest                                       #03-09, WIS
                                                                          CHANGI,, 419718
           State the term remaining      UNDETERMINED                     SINGAPORE

           List the contract number of
           any government contract

                                         CATO NETWORKS PROPOSAL
           State what the contract or    DATED 05/29/2020 AND ALL RELATED CATO NETWORKS INC.
 2.16      lease is for and the nature   AGREEMENTS                       3031 TISCH WAY,
           of the debtor’s interest                                       110 PLAZA WEST
                                                                          SAN JOSE, CA 95128
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SECOND AMENDMENT TO LEASE
           State what the contract or    DATED 08/07/2015 AND ALL RELATED CHARLES JADALLAH
 2.17      lease is for and the nature   AGREEMENTS                       ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SECOND AMENDMENT TO LEASE
           State what the contract or    DATED 08/07/2015 AND ALL RELATED CHARLES JADALLAH
 2.18      lease is for and the nature   AGREEMENTS                       ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         AGREEMENT OF LEASE DATED
           State what the contract or    01/01/2006 AND ALL RELATED           CHARLES JADALLAH AND JANINC JADALLAH
 2.19      lease is for and the nature   AGREEMENTS                           ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         FIRST AMENDMENT TO LEASE
           State what the contract or    DATED 01/01/2011 AND ALL RELATED CHARLES JADALLAH AND JANINE JADALLAH
 2.20      lease is for and the nature   AGREEMENTS                       ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         AGREEMENT OF LEASE DATED
           State what the contract or    01/01/2006 AND ALL RELATED           CHARLES JADALLAH AND JANINE JADALLAH
 2.21      lease is for and the nature   AGREEMENTS                           ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         FIRST AMENDMENT TO LEASE
           State what the contract or    DATED 12/31/2010 AND ALL RELATED CHARLES JADALLAH AND JANINE JADALLAH
 2.22      lease is for and the nature   AGREEMENTS                       ADDRESS ON FILE
           of the debtor’s interest

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         MASTER SERVICES AGREEMENT
           State what the contract or    DATED 03/27/2020 AND ALL RELATED CITY AND COUNTY OF SAN FRANCISCO
 2.23      lease is for and the nature   AGREEMENTS                       170 OTIS STREET.
           of the debtor’s interest                                       SAN FRANCISCO, CA 94103

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         THIRD AMENDMENT TO PERMIT NO.
           State what the contract or    27552 DATED 12/22/2016 AND ALL CITY OF LONG BEACH
 2.24      lease is for and the nature   RELATED AGREEMENTS             2760 N. STUDEBAKER ROAD
           of the debtor’s interest                                     LONG BEACH, CA 90815-1697

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         THIRD AMENDMENT TO PERMIT NO.
           State what the contract or    27552 DATED 12/22/2016 AND ALL CITY OF LONG BEACH
 2.25      lease is for and the nature   RELATED AGREEMENTS             2760 N. STUDEBAKER ROAD
           of the debtor’s interest                                     LONG BEACH, CA 90815-1697

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         FIRST AMENDMENT TO CITY
           State what the contract or    AGREEMENT 2009-0671 AND ALL          CITY OF SACRAMENTO
 2.26      lease is for and the nature   RELATED AGREEMENTS                   CENTER FOR SACRAMENTO HISTORY
           of the debtor’s interest                                           551 SEQUOIA PACIFIC BLVD.
                                                                              SACRAMENTO, CA 95811
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         PASSENGER VESSEL CONCESSION
           State what the contract or    AGREEMENT DATED 07/15/2009 AND CITY OF SACRAMENTO
 2.27      lease is for and the nature   ALL RELATED AGREEMENTS         OLD SACRAMENTO HISTORIC DISTRICT
           of the debtor’s interest                                     922 SECOND STREET
                                                                        SUITE 200
           State the term remaining      UNDETERMINED                   SACRAMENTO, CA 95814

           List the contract number of
           any government contract

                                         PASSENGER VESSEL CONCESSION
           State what the contract or    AGREEMENT DATED 06/15/2021 AND CITY OF SACRAMENTO
 2.28      lease is for and the nature   ALL RELATED AGREEMENTS         CENTER FOR SACRAMENTO HISTORY
           of the debtor’s interest                                     551 SEQUOIA PACIFIC BLVD.
                                                                        SACRAMENTO, CA 95811
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         THIRD AMENDMENT TO CITY
           State what the contract or    AGREEMENT 2009-0671 DATED            CITY OF SACRAMENTO
 2.29      lease is for and the nature   07/09/2019 AND ALL RELATED           CENTER FOR SACRAMENTO HISTORY
           of the debtor’s interest      AGREEMENTS                           551 SEQUOIA PACIFIC BLVD.
                                                                              SACRAMENTO, CA 95811
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SECOND AMENDMENT TO CITY
           State what the contract or    AGREEMENT DATED 11/30/2016 AND CITY OF SACRAMENTO
 2.30      lease is for and the nature   ALL RELATED AGREEMENTS         CENTER FOR SACRAMENTO HISTORY
           of the debtor’s interest                                     551 SEQUOIA PACIFIC BLVD.
                                                                        SACRAMENTO, CA 95811
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         ORDER FORM DATED 11/01/2020
           State what the contract or    AND ALL RELATED AGREEMENTS           CLEARSLIDE, INC.
 2.31      lease is for and the nature                                        44 MONTGOMERY FLOOR 3
           of the debtor’s interest                                           SAN FRANCISCO, CA 94104

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         MARINA DEL REY WATERBUS
           State what the contract or    SERVICES DATED 09/11/2015 AND        COUNTY OF LOS ANGELES
 2.32      lease is for and the nature   ALL RELATED AGREEMENTS               13437 FIJI WAY
           of the debtor’s interest                                           TRAILER 3
                                                                              CONTRACTS UNIT
           State the term remaining      UNDETERMINED                         MARINA DEL REY, CA 90292

           List the contract number of
           any government contract

                                         MARINA DEL REY WATERBUS
           State what the contract or    SERVICE DATED 05/06/2017 AND ALL COUNTY OF LOS ANGELES
 2.33      lease is for and the nature   RELATED AGREEMENTS               13437 FIJI WAY
           of the debtor’s interest                                       TRAILER 3
                                                                          CONTRACTS UNIT
           State the term remaining      UNDETERMINED                     MARINA DEL REY, CA 90292

           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         MARINA DEL REY WATERBUS
           State what the contract or    SERVICES DATED 07/03/2015 AND        COUNTY OF LOS ANGELES
 2.34      lease is for and the nature   ALL RELATED AGREEMENTS               13437 FIJI WAY
           of the debtor’s interest                                           TRAILER 3
                                                                              CONTRACTS UNIT
           State the term remaining      UNDETERMINED                         MARINA DEL REY, CA 90292

           List the contract number of
           any government contract

                                         MARINA DEL REY WATERBUS
           State what the contract or    SERVICES DATED 04/02/2015 AND        COUNTY OF LOS ANGELES
 2.35      lease is for and the nature   ALL RELATED AGREEMENTS               13437 FIJI WAY
           of the debtor’s interest                                           TRAILER 3
                                                                              CONTRACTS UNIT
           State the term remaining      UNDETERMINED                         MARINA DEL REY, CA 90292

           List the contract number of
           any government contract

                                         MARINA DEL REY WATERBUS
           State what the contract or    SERVICE CONTRACT AND ALL             COUNTY OF LOS ANGELES
 2.36      lease is for and the nature   RELATED AGREEMENTS                   13483 FIJI WAY, TRAILER #3
           of the debtor’s interest                                           MARINA DEL REY, CA 90292

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         AMENDMENT 1 TO CONTRACT NO.
           State what the contract or    BHWTRBUS19 DATED 05/06/2022          COUNTY OF LOS ANGELES
 2.37      lease is for and the nature   AND ALL RELATED AGREEMENTS           13437 FIJI WAY
           of the debtor’s interest                                           TRAILER 3
                                                                              CONTRACTS UNIT
           State the term remaining      UNDETERMINED                         MARINA DEL REY, CA 90292

           List the contract number of
           any government contract

                                         CONSULTING SERVICES
           State what the contract or    AGREEMENT DATED 03/19/2019 AND DATA MERCENARIES LLC,
 2.38      lease is for and the nature   ALL RELATED AGREEMENTS         1627 CABERNET CT
           of the debtor’s interest                                     PETALUMA, CA 94954

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SLIP LICENSE AGREEMENT -
           State what the contract or    COMMERCIAL DATED 10/01/2011          DEL REY FUEL, LLC
 2.39      lease is for and the nature   AND ALL RELATED AGREEMENTS           13800 BORA BORA WAY
           of the debtor’s interest                                           MARINA DEL REY, CA 90292

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         FACILITIES USE AGREEMENT AND
           State what the contract or    ALL RELATED AGREEMENTS               DERMFX
 2.40      lease is for and the nature                                        2430 W COAST HIGHWA
           of the debtor’s interest                                           NEWPORT BEACH, CA 92663

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         OFFICE LICENSE AND SERVICES
           State what the contract or    AGREEMENT DATED 07/18/2019 AND FLINTROCK OFFICE SUITES, LLC
 2.41      lease is for and the nature   ALL RELATED AGREEMENTS         2802 FLINTROCK TRACE
           of the debtor’s interest                                     SUITE 201
                                                                        AUSTIN, TX 78738
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TERMS AND CONDITIONS 2018
           State what the contract or    EDITION DATED 09/27/2018 AND ALL FUSION MEDIA (EUROPE) LIMITED
 2.42      lease is for and the nature   RELATED AGREEMENTS               UNIT 3A
           of the debtor’s interest                                       BEECHCROFT FARM
                                                                          CHAPEL WOOD ROAD
           State the term remaining      UNDETERMINED                     SEVENOAKS, KENT, TN15 7HX
                                                                          UNITED KINGDOM
           List the contract number of
           any government contract

                                         AGREEMENT DATED 01/01/2022 AND
           State what the contract or    ALL RELATED AGREEMENTS         GLOBAL MUSIC RIGHTS, LLC
 2.43      lease is for and the nature                                  1100 GLENDON AVENUE, 10TH FLOOR
           of the debtor’s interest                                     LOS ANGELES, CA 90024

           State the term remaining
           List the contract number of
           any government contract

                                         SEASONAL NIGHTLIFE
           State what the contract or    ENTERTAINMENT VENUE LICENSE      GLOBAL MUSIC RIGHTS, LLC
 2.44      lease is for and the nature   DATED 01/01/2022 AND ALL RELATED 1100 GLENDON AVENUE, 10TH FLOOR
           of the debtor’s interest      AGREEMENTS                       LOS ANGELES, CA 90024

           State the term remaining
           List the contract number of
           any government contract

                                         ATTRACTION PARTNER AGREEMENT
           State what the contract or    DATED 10/02/2023 AND ALL RELATED GO CITY GROUP NORTH AMERICA, INC
 2.45      lease is for and the nature   AGREEMENTS                       PO BOX 320
           of the debtor’s interest                                       RAYNHAM, MA 02767

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         ATTRACTION PARTNER AGREEMENT
           State what the contract or    RENEWAL ADDENDUM DATED       GO CITY GROUP NORTH AMERICA, INC.
 2.46      lease is for and the nature   04/01/2023 AND ALL RELATED   P.O. BOX 80169
           of the debtor’s interest      AGREEMENTS                   STONEHAM, MA 02180

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         AMENDMENT VI TO HORNBLOWER
           State what the contract or    YACHTS, LLC., LEASES FOR OFFICE, GOLD COAST VILLAGE, LLC
 2.47      lease is for and the nature   COMMISSARY, KIOSK, STORAGE       13575 MINDANAO WAY
           of the debtor’s interest      SPACES AND BOAT SLIPS DATED      MARINA DEL REY, CA 90292
                                         09/01/2018 AND ALL RELATED
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         AMENDMENT VI TO HORNBLOWER
           State what the contract or    YACHTS, LLC., LEASES FOR OFFICE, GOLD COAST VILLAGE, LLC
 2.48      lease is for and the nature   COMMISSARY, KIOSK, STORAGE       13575 MINDANAO WAY
           of the debtor’s interest      SPACES AND BOAT SLIPS DATED      MARINA DEL REY, CA 90292
                                         09/01/2018 AND ALL RELATED
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SERVICE LEVEL AGREEMENT
           State what the contract or    DATED 09/28/2018 AND ALL RELATED HAVEN SYSTEMS LIMITED
 2.49      lease is for and the nature   AGREEMENTS                       6 DOLPHIN COURT
           of the debtor’s interest                                       BRUNEL QUAY
                                                                          NEYLAND MARINA, PEMBROKESHIRE, SA73 1PY
           State the term remaining      UNDETERMINED                     UNITED KINGDOM

           List the contract number of
           any government contract

                                         SERVICE LEVEL AGREEMENT
           State what the contract or    DATED 07/01/2018 AND ALL RELATED HAVEN SYSTEMS LIMITED
 2.50      lease is for and the nature   AGREEMENTS                       6 DOLPHIN COURT
           of the debtor’s interest                                       BRUNEL QUAY
                                                                          NEYLAND MARINA
           State the term remaining      UNDETERMINED                     PEMBROKESHIRE, SA73 1PY
                                                                          UNITED KINGDOM
           List the contract number of
           any government contract

                                         SERVICE LEVEL AGREEMENT
           State what the contract or    DATED 07/01/2019 AND ALL RELATED HAVEN SYSTEMS LIMITED
 2.51      lease is for and the nature   AGREEMENTS                       6 DOLPHIN COURT
           of the debtor’s interest                                       BRUNEL QUAY
                                                                          NEYLAND MARINA, PEMBROKESHIRE, SA73 1PY
           State the term remaining      UNDETERMINED                     UNITED KINGDOM

           List the contract number of
           any government contract

                                         SERVICE LEVEL AGREEMENT
           State what the contract or    DATED 05/01/2018 AND ALL RELATED HAVEN SYSTEMS LIMITED
 2.52      lease is for and the nature   AGREEMENTS                       6 DOLPHIN COURT
           of the debtor’s interest                                       BRUNEL QUAY
                                                                          NEYLAND MARINA, PEMBROKESHIRE, SA73 1PY
           State the term remaining      UNDETERMINED                     UNITED KINGDOM

           List the contract number of
           any government contract

                                         SERVICE AGREEMENT DATED
           State what the contract or    05/01/2018 AND ALL RELATED           HORNBLOWER CANADA CO.
 2.53      lease is for and the nature   AGREEMENTS                           5775 RIVER RD., UNIT 110
           of the debtor’s interest                                           NIAGARA FALLS, ON L2G 3K9
                                                                              CANADA
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         INTELLECTUAL PROPERTY LICENCE
           State what the contract or    AGREEMENT DATED 01/01/2010 AND HORNBLOWER CANADA CO.
 2.54      lease is for and the nature   ALL RELATED AGREEMENTS         5775 RIVER RD., UNIT 110
           of the debtor’s interest                                     NIAGARA FALLS, ON L2G 3K9
                                                                        CANADA
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         WRITTEN CONSENT DATED
           State what the contract or    11/17/2022 AND ALL RELATED           HORNBLOWER GROUP, INC.
 2.55      lease is for and the nature   AGREEMENTS                           PIER 3, THE EMBARCADERO
           of the debtor’s interest                                           SAN FRANCISCO, CA 94111

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         INTERCOMPANY SERVICES
           State what the contract or    AGREEMENT DATED 01/01/2021 AND HORNBLOWER GROUP, INC.
 2.56      lease is for and the nature   ALL RELATED AGREEMENTS         PIER 3, THE EMBARCADERO
           of the debtor’s interest                                     SAN FRANCISCO, CA 94111

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SECOND AMENDMENT TO LEASE
           State what the contract or    DATED 08/07/2015 AND ALL RELATED HORNBLOWER WIND, LLC
 2.57      lease is for and the nature   AGREEMENTS                       PIER 3, THE EMBARCADERO
           of the debtor’s interest                                       SAN FRANCISCO, CA 94111

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         STANDARD
           State what the contract or    INDUSTRIAL/COMMERCIAL                KIDS FROM THE VALLEY XIV, LLC
 2.58      lease is for and the nature   MULTI-TENANT LEASE DATED             850 S. BROADWAY, PENTHOUSE FLOOR
           of the debtor’s interest      11/01/2018 AND ALL RELATED           LOS ANGELES, CA 90014
                                         AGREEMENTS
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         AMENDMENT#3 EXERCISE OF
           State what the contract or    LEASE OPTION & ADDITIONAL            KIDS FROM THE VALLEY XIV, LLC DBA TOWNSGATE BUSINESS
 2.59      lease is for and the nature   LEASE OPTION DATED 01/01/2013        CENTER
           of the debtor’s interest      AND ALL RELATED AGREEMENTS           850 S. BROADWAY, PENTHOUSE FL.
                                                                              LOS ANGELES, CA 90014
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         ENGAGEMENT AGREEMENT DATED
           State what the contract or    12/05/2019 AND ALL RELATED Littler Mendelson, P.C
 2.60      lease is for and the nature   AGREEMENTS                 101 2nd St Suite 1000
           of the debtor’s interest                                 San Francisco, CA 94105

           State the term remaining
           List the contract number of
           any government contract

                                         PURCHASE ORDER FOR SUPPLIES
           State what the contract or    OR SERVICES DATED 10/02/2019         MARINE CORPS COMMUNITY SERVICES
 2.61      lease is for and the nature   AND ALL RELATED AGREEMENTS           BLDG 20846, VANDEGRIFT BLVD
           of the debtor’s interest                                           MCB CAMP PENDLETON, CA 92055

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         BOAT SLIP LEASE DATED 01/01/2016
           State what the contract or    AND ALL RELATED AGREEMENTS       MARINERS MILE LLC
 2.62      lease is for and the nature                                    2505 W. COAST HIGHWAY, STE 201
           of the debtor’s interest                                       NEWPORT BEACH, CA 92663

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         FIRST AMENDMENT TO THE LEASE
           State what the contract or    AGREEMENT DATED 12/29/2020 AND MARINERS MILE, LLC
 2.63      lease is for and the nature   ALL RELATED AGREEMENTS         2505 W. COAST HIGHWAY, STE 201
           of the debtor’s interest                                     NEWPORT BEACH, CA 92663

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         STANDARD MULTI-TENANT OFFICE
           State what the contract or    LEASE - GROSS DATED 01/01/2016       MARINERS MILE, LLC
 2.64      lease is for and the nature   AND ALL RELATED AGREEMENTS           2505 W. COAST HIGHWAY, STE 201
           of the debtor’s interest                                           NEWPORT BEACH, CA 92663

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         STANDARD MULTI-TENANT OFFICE
           State what the contract or    LEASE - GROSS DATED 01/01/2016       MARINERS MILE, LLC
 2.65      lease is for and the nature   AND ALL RELATED AGREEMENTS           2505 W. COAST HIGHWAY, STE 201
           of the debtor’s interest                                           NEWPORT BEACH, CA 92663

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    03/22/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.66      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    11/16/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.67      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    11/16/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.68      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         TICKET AGREEMENT DATED
           State what the contract or    11/16/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.69      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    11/16/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.70      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    11/16/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.71      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    11/16/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.72      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    03/08/2023 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.73      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    11/16/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.74      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT AND ALL
           State what the contract or    RELATED AGREEMENTS                   MILITARY TICKET PROGRAM
 2.75      lease is for and the nature                                        C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         TICKET AGREEMENT DATED
           State what the contract or    02/03/2022 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.76      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT AND ALL
           State what the contract or    RELATED AGREEMENTS                   MILITARY TICKET PROGRAM
 2.77      lease is for and the nature                                        C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT AND ALL
           State what the contract or    RELATED AGREEMENTS                   MILITARY TICKET PROGRAM
 2.78      lease is for and the nature                                        C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    03/05/2023 AND ALL RELATED           MILITARY TICKET PROGRAM
 2.79      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         HORNBLOWER YACHTS, LLC
           State what the contract or    MOORAGE LICENSE AGREEMENT            M-PROJECT III, LLC
 2.80      lease is for and the nature   ADDENDUM DATED 06/01/2018 AND        2505 WEST COAST HIGHWAY. SUITE 201
           of the debtor’s interest      ALL RELATED AGREEMENTS               NEWPORT BEACH, CA 92663

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         LETTER OF INTENT - BIKE LOCKERS
           State what the contract or    AT PIER 3, SAN FRANCISCO DATED MR. TAE CHANG - GLOBAL REAL ESTATE - BLOOMBERG L.P.
 2.81      lease is for and the nature   11/22/2022 AND ALL RELATED      731 LEXINGTON AVENUE
           of the debtor’s interest      AGREEMENTS                      NEW YORK, NY 01022

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         LIMITED NOTICE TO PROCEED
           State what the contract or    DATED 08/10/2023 AND ALL RELATED NJ TRANSIT
 2.82      lease is for and the nature   AGREEMENTS                       ONE PENN PLAZA EAST
           of the debtor’s interest                                       NEWARK, NJ 07105-2246

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         LIMITED NOTICE TO PROCEED
           State what the contract or    DATED 10/13/2023 AND ALL RELATED NJ TRANSIT
 2.83      lease is for and the nature   AGREEMENTS                       ONE PENN PLAZA EAST
           of the debtor’s interest                                       NEWARK, NJ 07105-2246

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SERVICE AGREEMENT ADDENDUM
           State what the contract or    AND ALL RELATED AGREEMENTS           OUTSOLVE INC.
 2.84      lease is for and the nature                                        3330 W ESPLANADE AVE S.
           of the debtor’s interest                                           SUITE 301.
                                                                              METAIRIE, LA 70002
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SERVICE AGREEMENT ADDENDUM
           State what the contract or    AND ALL RELATED AGREEMENTS           OUTSOLVE LLC
 2.85      lease is for and the nature                                        3330 W ESPLANADE AVE S.
           of the debtor’s interest                                           SUITE 301.
                                                                              METAIRIE, LA 70002
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         AMENDMENT VI TO HORNBLOWER
           State what the contract or    YACHTS, LLC., LEASES FOR OFFICE, PACIFIC OCEAN MANAGEMENT, LLC
 2.86      lease is for and the nature   COMMISSARY, KIOSK, STORAGE       13737 FIJI WAY
           of the debtor’s interest      SPACES AND BOAT SLIPS DATED      MARINA DEL REY, CA 90292
                                         09/01/2018 AND ALL RELATED
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         ARTIST WORK-FOR-HIRE
           State what the contract or    AGREEMENT DATED 03/01/2019 AND PIER 3 SCULPTURE, LLC
 2.87      lease is for and the nature   ALL RELATED AGREEMENTS         1615 NE 13TH ST
           of the debtor’s interest                                     BEND, OR 97701

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TICKET AGREEMENT DATED
           State what the contract or    12/09/2021 AND ALL RELATED           PIER 3, EMBARDADERO LANDING
 2.88      lease is for and the nature   AGREEMENTS                           C/O NAVY MWR
           of the debtor’s interest                                           5720 INTEGRITY DR
                                                                              MILLINGTON, TN 38055
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         AMENDMENT TO AND
           State what the contract or    RESTATEMENT OF LEASE NO.             PORT OF SAN FRANCISCO
 2.89      lease is for and the nature   L-12501 DATED 11/01/1997 AND ALL     COMMERCIAL PROPERTY MANAGER
           of the debtor’s interest      RELATED AGREEMENTS                   PIER 1
                                                                              SAN FRANCISCO, CA 94111
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         MUTUAL NONDISCLOSURE
           State what the contract or    AGREEMENT DATED 01/09/2019 AND REDEAM, INC.
 2.90      lease is for and the nature   ALL RELATED AGREEMENTS         P.O. BOX 7295
           of the debtor’s interest                                     BROOMFIELD, CO 80021

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SAN DIEGO UNIFIED PORT DISTRICT
           State what the contract or    LEASE TO HORNBLOWER YACHTS, SAN DIEGO UNIFIED PORT DISTRICT
 2.91      lease is for and the nature   INC. DATED 02/01/2012 AND ALL   REAL ESTATE DEPARTMENT
           of the debtor’s interest      RELATED AGREEMENTS              POST OFFICE BOX 120488
                                                                         SAN DIEGO, CA 92112-0488
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         TIDELAND USE AND OCCUPANCY
           State what the contract or    PERMIT DATED 08/01/2018 AND ALL      SAN DIEGO UNIFIED PORT DISTRICT
 2.92      lease is for and the nature   RELATED AGREEMENTS                   3165 PACIFIC HIGHWAY
           of the debtor’s interest                                           SAN DIEGO, CA 92101

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         MUTUAL NONDISCLOSURE
           State what the contract or    AGREEMENT DATED 02/11/2021 AND SAN DIEGO UNIFIED PORT DISTRICT
 2.93      lease is for and the nature   ALL RELATED AGREEMENTS         3165 PACIFIC HIGHWAY
           of the debtor’s interest                                     SAN DIEGO, CA 92101

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SAN DIEGO UNIFIED PORT DISTRICT
           State what the contract or    LEASE TO HORNBLOWER YACHTS, SAN DIEGO UNIFIED PORT DISTRICT
 2.94      lease is for and the nature   INC. DATED 02/01/2012 AND ALL   TREASURER'S OFFICE
           of the debtor’s interest      RELATED AGREEMENTS              SAN DIEGO UNIFIED PORT DISTRICT
                                                                         POST OFFICE BOX 120488
           State the term remaining      UNDETERMINED                    SAN DIEGO, CA 92112-0488

           List the contract number of
           any government contract

                                         BAREBOAT CHARTER AGREEMENT
           State what the contract or    DATED 11/17/2022 AND ALL RELATED STATUE CRUISES, LLC
 2.95      lease is for and the nature   AGREEMENTS                       PIER 3, THE EMBARCADERO
           of the debtor’s interest                                       SAN FRANCISCO, CA 94111

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         STATEMENT OF WORK DATED
           State what the contract or    02/08/2019 AND ALL RELATED           STRATOGENT CORPORATION
 2.96      lease is for and the nature   AGREEMENTS                           3 WATERS PARK DR.
           of the debtor’s interest                                           SUITE 230
                                                                              SAN MATEO, CA 94403
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

        Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

                                         SECOND AMENDMENT TO AND
           State what the contract or    RESTATEMENT OF LEASE NO.             THE CITY AND COUNTY OF SAN FRANCISCO
 2.97      lease is for and the nature   L-12175 DATED 02/25/2004 AND ALL     COMMERCIAL PROPERTY MANAGER
           of the debtor’s interest      RELATED AGREEMENTS                   PORT OF SAN FRANCISCO
                                                                              PIER 1
           State the term remaining      UNDETERMINED                         SAN FRANCISCO, CA 94111

           List the contract number of
           any government contract

                                         SECOND AMENDMENT TO AND
           State what the contract or    RESTATEMENT OF LEASE NO.             THE CITY AND COUNTY OF SAN FRANCISCO
 2.98      lease is for and the nature   L-12175 DATED 02/25/2004 AND ALL     COMMERCIAL PROPERTY MANAGER
           of the debtor’s interest      RELATED AGREEMENTS                   PORT OF SAN FRANCISCO
                                                                              PIER 1
           State the term remaining      UNDETERMINED                         SAN FRANCISCO, CA 94111

           List the contract number of
           any government contract

                                         PASSENGER VESSEL CONCESSION
           State what the contract or    AGREEMENT AND ALL RELATED   THE CITY OF SACRAMENTO
 2.99      lease is for and the nature   AGREEMENTS                  PO BOX 4668
           of the debtor’s interest                                  ECM #35050
                                                                     NEW YORK, NY 10163
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         STANDARD
      State what the contract or         INDUSTRIAL/COMMERCIAL                THE VALLEY XIV, LLC
2.100 lease is for and the nature        MULTI-TENANT LEASE - GROSS           850 S. BROADWAY, PENTHOUSE FLOOR
      of the debtor’s interest           LEASE DATED 11/01/2018 AND ALL       LOS ANGELES, CA 90014
                                         RELATED AGREEMENTS
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         STANDARD MULTI-TENANT OFFICE
      State what the contract or         LEASE - GROSS DATED 01/01/2016       VOIT REAL ESTATE SERVICES
2.101 lease is for and the nature        AND ALL RELATED AGREEMENTS           ATTN: CARTER HARRINGTON
      of the debtor’s interest                                                2020 MAIN STREET, SUITE 100
                                                                              IRVINE, CA 92614
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         COMMERCIAL LEASE DATED
      State what the contract or         05/01/2018 AND ALL RELATED           WATERFRONT NEWPORT BEACH, LLC
2.102 lease is for and the nature        AGREEMENTS                           2901 WEST COAST HIGHWAY, SUITE 200
      of the debtor’s interest                                                NEWPORT BEACH, CA 92663

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         YEXT MASTER SUBSCRIPTION
      State what the contract or         AGREEMENT DATED 11/30/2020 AND YEXT, INC.
2.103 lease is for and the nature        ALL RELATED AGREEMENTS         61 NINTH AVE
      of the debtor’s interest                                          NEW YORK, NY 10011

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract



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              Name

               Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

                                         FIRST AMENDMENT TO LEASE DATED
                                         NOVEMBER 27, 2006 BETWEEN ZIMBALDI &
      State what the contract or         MARSHALL LLC, A CALIFORNIA LIMITED LIABILITY
                                                                                      ZIMBALDI & MARSHALL LLC
2.104 lease is for and the nature        COMPANY, LESSOR, AND HORNBLOWER              817 W.17TH STREET STE15
      of the debtor’s interest           YACHTS INC., LESSEE, FOR THE PREMISES        COSTA MESA, CA 92627
                                         LOCATED AT 817 WEST 17TH STREET #10, IN

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         FIFTH AMENDMENT TO LEASE DATED JANUARY
                                         28, 2021 BETWEEN ZIMBALDI & MARSHALL LLC, A
      State what the contract or         CALIFORNIA LIMITED LIABILITY COMPANY,
                                                                                     ZIMBALDI & MARSHALL LLC
2.105 lease is for and the nature        LESSOR, AND HORNBLOWER YACHTS INC.,         817 W.17TH STREET STE15
      of the debtor’s interest           LESSEE, FOR THE PREMISES LOCATED AT 817     COSTA MESA, CA 92627
                                         WEST 17TH STREET #10, IN COSTA MESA,

           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         STANDARD
      State what the contract or         INDUSTRIAUCOMMERCIAL                   ZIMBALDI & MARSHALL, LLC, A CALIFORNIA LIMITED LIABILITY
2.106 lease is for and the nature        MULTI-TENANT LEASE - GROSS             COMPANY
      of the debtor’s interest           AMERICAN INDUSTRIAL REAL               817 W.17TH STREET STE15
                                         ESTATE ASSOCIATION DATED               COSTA MESA, CA 92627
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract

                                         SIXTH AMENDMENT TO LEASE
      State what the contract or         DATED 01/01/2022 AND ALL RELATED ZIMBALDI AND MARSHALL, A CALIFORNIA GENERAL
2.107 lease is for and the nature        AGREEMENTS                       PARTNERSHIP
      of the debtor’s interest                                            817 W.17TH STREET STE15
                                                                          COSTA MESA, CA 92627
           State the term remaining      UNDETERMINED
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract



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  Fill in this information to identify the case:

 Debtor name      Hornblower Yachts, LLC

 United States Bankruptcy Court for the:    Southern District of Texas, Houston Division
                                                                                                                                                   ¨ Check if this is an
 Case number (If known):      24-90096 (MI)                                                                                                            amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                             Mailing address                                                                  Name                     Check all schedules
                                                                                                                                                     that apply:
 2.1   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           ALTER DOMUS (US) LLC        þ D
                                       SAN FRANCISCO, CA 94111                                                                                       ¨ E/F
                                                                                                                                                     ¨ G



 2.2   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           ALTER DOMUS (US) LLC        þ D
                                       SAN FRANCISCO, CA 94111                                                                                       ¨ E/F
                                                                                                                                                     ¨ G



 2.3   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           GLAS TRUST COMPANY          þ D
                                       SAN FRANCISCO, CA 94111                                                           LLC                         ¨ E/F
                                                                                                                                                     ¨ G



 2.4   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           GLAS TRUST COMPANY          þ D
                                       SAN FRANCISCO, CA 94111                                                           LLC                         ¨ E/F
                                                                                                                                                     ¨ G



 2.5   Alcatraz Cruises, LLC           PIER 3, THE EMBARCADERO                                                           UBS AG, STAMFORD            þ D
                                       SAN FRANCISCO, CA 94111                                                           BRANCH                      ¨ E/F
                                                                                                                                                     ¨ G



 2.6   Alcatraz Fleet, LLC             PIER 3, THE EMBARCADERO                                                           ALTER DOMUS (US) LLC        þ D
                                       SAN FRANCISCO, CA 94111                                                                                       ¨ E/F
                                                                                                                                                     ¨ G




Official Form 206H                                                           Schedule H: Codebtors                                                        Page 1 of 55
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            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.7    Alcatraz Fleet, LLC          PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



 2.8    Alcatraz Fleet, LLC          PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.9    Alcatraz Fleet, LLC          PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.10   Alcatraz Fleet, LLC          PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.11   Alcatraz Freedom, LLC        PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



 2.12   Alcatraz Freedom, LLC        PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



 2.13   Alcatraz Freedom, LLC        PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.14   Alcatraz Freedom, LLC        PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
            Name


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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

 2.15   Alcatraz Freedom, LLC        PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



 2.16   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.17   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.18   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.19   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.20   Alcatraz Island Services,    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



 2.21   American Countess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



 2.22   American Countess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G




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            Name


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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.23   American Countess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.24   American Countess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.25   American Countess, LLC       2400 E. COMMERCIAL BLVD., STE. 1200                                         UBS AG, STAMFORD         þ D
                                     FORT LAUDERDALE, FL 33308                                                   BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.26   American Duchess, LLC        2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
                                                                                                                                          ¨ G



 2.27   American Duchess, LLC        2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
                                                                                                                                          ¨ G



 2.28   American Duchess, LLC        2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.29   American Duchess, LLC        2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.30   American Duchess, LLC        2400 E. COMMERCIAL BLVD., STE. 1200                                         UBS AG, STAMFORD         þ D
                                     FORT LAUDERDALE, FL 33308                                                   BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.31   American Queen Holdco,       2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
        LLC                          FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
                                                                                                                                          ¨ G



 2.32   American Queen Holdco,       2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
        LLC                          FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
                                                                                                                                          ¨ G



 2.33   American Queen Holdco,       2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
        LLC                          FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.34   American Queen Holdco,       2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
        LLC                          FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.35   American Queen Holdco,       2400 E. COMMERCIAL BLVD., STE. 1200                                         UBS AG, STAMFORD         þ D
        LLC                          FORT LAUDERDALE, FL 33308                                                   BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.36   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             ALTER DOMUS (US) LLC     þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                                                ¨ E/F
                                                                                                                                          ¨ G



 2.37   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             ALTER DOMUS (US) LLC     þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                                                ¨ E/F
                                                                                                                                          ¨ G



 2.38   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             GLAS TRUST COMPANY       þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.39   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             GLAS TRUST COMPANY       þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.40   American Queen Holdings, 2400 E. COMMERCIAL BLVD., STE. 1200                                             UBS AG, STAMFORD         þ D
        LLC                      FORT LAUDERDALE, FL 33308                                                       BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.41   American Queen               2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
        Steamboat Operating          FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.42   American Queen               2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
        Steamboat Operating          FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.43   American Queen               2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
        Steamboat Operating          FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.44   American Queen               2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
        Steamboat Operating          FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.45   American Queen               2400 E. COMMERCIAL BLVD., STE. 1200                                         UBS AG, STAMFORD         þ D
        Steamboat Operating          FORT LAUDERDALE, FL 33308                                                   BRANCH                   ¨ E/F
        Company, LLC
                                                                                                                                          ¨ G



 2.46   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              ALTER DOMUS (US) LLC     þ D
                                FORT LAUDERDALE, FL 33308                                                                                 ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.47   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              ALTER DOMUS (US) LLC     þ D
                                FORT LAUDERDALE, FL 33308                                                                                 ¨ E/F
                                                                                                                                          ¨ G



 2.48   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              GLAS TRUST COMPANY       þ D
                                FORT LAUDERDALE, FL 33308                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.49   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              GLAS TRUST COMPANY       þ D
                                FORT LAUDERDALE, FL 33308                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.50   American Queen Sub, LLC 2400 E. COMMERCIAL BLVD., STE. 1200                                              UBS AG, STAMFORD         þ D
                                FORT LAUDERDALE, FL 33308                                                        BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.51   Anchor Mexico Holdings,      PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



 2.52   Anchor Mexico Holdings,      PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



 2.53   Anchor Mexico Holdings,      PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.54   Anchor Mexico Holdings,      PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.55   Anchor Mexico Holdings,      PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.56   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  ALTER DOMUS (US) LLC     þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.57   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  ALTER DOMUS (US) LLC     þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                                               ¨ E/F
                                                                                                                                          ¨ G



 2.58   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  GLAS TRUST COMPANY       þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.59   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  GLAS TRUST COMPANY       þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.60   Anchor Operating System, 2645 TOWNSGATE ROAD, SUITE 200                                                  UBS AG, STAMFORD         þ D
        LLC                      WESTLAKE VILLAGE, CA 91361                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.61   Bay State, LLC               PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



 2.62   Bay State, LLC               PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.63   Bay State, LLC               PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.64   Bay State, LLC               PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.65   Bay State, LLC               PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



 2.66   Boston Harbor Cruises,       1 LONG WHARF                                                                ALTER DOMUS (US) LLC     þ D
        LLC                          BOSTON, MA 02110                                                                                     ¨ E/F
                                                                                                                                          ¨ G



 2.67   Boston Harbor Cruises,       1 LONG WHARF                                                                ALTER DOMUS (US) LLC     þ D
        LLC                          BOSTON, MA 02110                                                                                     ¨ E/F
                                                                                                                                          ¨ G



 2.68   Boston Harbor Cruises,       1 LONG WHARF                                                                GLAS TRUST COMPANY       þ D
        LLC                          BOSTON, MA 02110                                                            LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.69   Boston Harbor Cruises,       1 LONG WHARF                                                                GLAS TRUST COMPANY       þ D
        LLC                          BOSTON, MA 02110                                                            LLC                      ¨ E/F
                                                                                                                                          ¨ G



 2.70   Boston Harbor Cruises,       1 LONG WHARF                                                                UBS AG, STAMFORD         þ D
        LLC                          BOSTON, MA 02110                                                            BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

 2.71   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.72   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.73   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.74   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.75   City Cruises Cafe, LLC       PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



 2.76   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
                                     ROTHERHITHE                                                                                           ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.77   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     ALTER DOMUS (US) LLC     þ D
                                     ROTHERHITHE                                                                                           ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.78   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     FUSION MEDIA             ¨ D
                                     ROTHERHITHE                                                                  (EUROPE) LIMITED         ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        þ G




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   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
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            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

 2.79   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
                                     ROTHERHITHE                                                                  LLC                      ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.80   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     GLAS TRUST COMPANY       þ D
                                     ROTHERHITHE                                                                  LLC                      ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.81   City Cruises Limited         CHERRY GARDEN PIER, CHERRY GARDEN STREET                                     UBS AG, STAMFORD         þ D
                                     ROTHERHITHE                                                                  BRANCH                   ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                        ¨ G



 2.82   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.83   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



 2.84   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.85   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



 2.86   City Ferry Transportation    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.87   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    ALTER DOMUS (US) LLC     þ D
        Limited                      ROTHERHITHE                                                                                          ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



 2.88   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    ALTER DOMUS (US) LLC     þ D
        Limited                      ROTHERHITHE                                                                                          ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



 2.89   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    GLAS TRUST COMPANY       þ D
        Limited                      ROTHERHITHE                                                                 LLC                      ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



 2.90   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    GLAS TRUST COMPANY       þ D
        Limited                      ROTHERHITHE                                                                 LLC                      ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



 2.91   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    UBS AG, STAMFORD         þ D
        Limited                      ROTHERHITHE                                                                 BRANCH                   ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



 2.92   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    ALTER DOMUS (US) LLC     þ D
        Transport, Limited           LONDON, SE16 4TU                                                                                     ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



 2.93   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    ALTER DOMUS (US) LLC     þ D
        Transport, Limited           LONDON, SE16 4TU                                                                                     ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



 2.94   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    GLAS TRUST COMPANY       þ D
        Transport, Limited           LONDON, SE16 4TU                                                            LLC                      ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

 2.95   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    GLAS TRUST COMPANY       þ D
        Transport, Limited           LONDON, SE16 4TU                                                            LLC                      ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



 2.96   Cruising Excursions          CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    UBS AG, STAMFORD         þ D
        Transport, Limited           LONDON, SE16 4TU                                                            BRANCH                   ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



 2.97   EON Partners, LLC            2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
                                                                                                                                          ¨ G



 2.98   EON Partners, LLC            2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
                                                                                                                                          ¨ G



 2.99   EON Partners, LLC            2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.100   EON Partners, LLC            2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.101   EON Partners, LLC            2400 E. COMMERCIAL BLVD., STE. 1200                                         UBS AG, STAMFORD         þ D
                                     FORT LAUDERDALE, FL 33308                                                   BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.102   Ferryboat Santa Rosa,        PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.103   Ferryboat Santa Rosa,        PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.104   Ferryboat Santa Rosa,        PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.105   Ferryboat Santa Rosa,        PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.106   Ferryboat Santa Rosa,        PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.107   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               ALTER DOMUS (US) LLC     þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.108   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               ALTER DOMUS (US) LLC     þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.109   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               GLAS TRUST COMPANY       þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.110   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               GLAS TRUST COMPANY       þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.111   HMS American Queen     2400 E. COMMERCIAL BLVD., STE. 1200                                               UBS AG, STAMFORD         þ D
        Steamboat Company, LLC FORT LAUDERDALE, FL 33308                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.112   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.113   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.114   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.115   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.116   HMS Ferries - Puerto Rico, PIER 3, THE EMBARCADERO                                                       UBS AG, STAMFORD         þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.117   HMS Ferries, Inc.            PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.118   HMS Ferries, Inc.            PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.119   HMS Ferries, Inc.            PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.120   HMS Ferries, Inc.            PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.121   HMS Ferries, Inc.            PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.122   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            ALTER DOMUS (US) LLC     þ D
                                  FORT LAUDERDALE, FL 33308                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.123   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            ALTER DOMUS (US) LLC     þ D
                                  FORT LAUDERDALE, FL 33308                                                                               ¨ E/F
                                                                                                                                          ¨ G



2.124   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            GLAS TRUST COMPANY       þ D
                                  FORT LAUDERDALE, FL 33308                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.125   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            GLAS TRUST COMPANY       þ D
                                  FORT LAUDERDALE, FL 33308                                                      LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.126   HMS Global Maritime, Inc. 2400 E. COMMERCIAL BLVD., STE. 1200                                            UBS AG, STAMFORD         þ D
                                  FORT LAUDERDALE, FL 33308                                                      BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.127   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.128   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.129   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.130   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.131   HMS Global Maritime, LLC PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
                                 SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.132   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.133   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.134   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G




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2.135   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.136   HMS Vessel Holdings, LLC PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
                                 SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.137   HMS-Alabama, Inc.            PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.138   HMS-Alabama, Inc.            PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.139   HMS-Alabama, Inc.            PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.140   HMS-Alabama, Inc.            PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.141   HMS-Alabama, Inc.            PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.142   HMS-Oklahoma, Inc.           PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.143   HMS-Oklahoma, Inc.           PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.144   HMS-Oklahoma, Inc.           PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.145   HMS-Oklahoma, Inc.           PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.146   HMS-Oklahoma, Inc.           PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.147   HMS-WestPac, Inc.            203 W. 1ST STREET, SUITE A                                                  ALTER DOMUS (US) LLC     þ D
                                     NEW ALBANY, IN 47150                                                                                 ¨ E/F
                                                                                                                                          ¨ G



2.148   HMS-WestPac, Inc.            203 W. 1ST STREET, SUITE A                                                  ALTER DOMUS (US) LLC     þ D
                                     NEW ALBANY, IN 47150                                                                                 ¨ E/F
                                                                                                                                          ¨ G



2.149   HMS-WestPac, Inc.            203 W. 1ST STREET, SUITE A                                                  GLAS TRUST COMPANY       þ D
                                     NEW ALBANY, IN 47150                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.150   HMS-WestPac, Inc.            203 W. 1ST STREET, SUITE A                                                  GLAS TRUST COMPANY       þ D
                                     NEW ALBANY, IN 47150                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.151   HMS-WestPac, Inc.            203 W. 1ST STREET, SUITE A                                                  UBS AG, STAMFORD         þ D
                                     NEW ALBANY, IN 47150                                                        BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.152   HNY Ferry Fleet, LLC         PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.153   HNY Ferry Fleet, LLC         PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.154   HNY Ferry Fleet, LLC         PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.155   HNY Ferry Fleet, LLC         PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.156   HNY Ferry Fleet, LLC         PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.157   HNY Ferry II, LLC            PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.158   HNY Ferry II, LLC            PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

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                                                                                                                                          that apply:

2.159   HNY Ferry II, LLC            PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.160   HNY Ferry II, LLC            PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.161   HNY Ferry II, LLC            PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.162   HNY Ferry, LLC               PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.163   HNY Ferry, LLC               PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.164   HNY Ferry, LLC               PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.165   HNY Ferry, LLC               PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.166   HNY Ferry, LLC               PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.167   Hornblower Cable Cars,       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Inc.                         SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.168   Hornblower Cable Cars,       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Inc.                         SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.169   Hornblower Cable Cars,       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Inc.                         SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.170   Hornblower Cable Cars,       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Inc.                         SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.171   Hornblower Cable Cars,       PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        Inc.                         SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.172   Hornblower Canada Co.        5775 RIVER RD., UNIT 110                                                    ALTER DOMUS (US) LLC     þ D
                                     NIAGARA FALLS, ON L2G 3K9                                                                            ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.173   Hornblower Canada Co.        5775 RIVER RD., UNIT 110                                                    ALTER DOMUS (US) LLC     þ D
                                     NIAGARA FALLS, ON L2G 3K9                                                                            ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.174   Hornblower Canada Co.        5775 RIVER RD., UNIT 110                                                    GLAS TRUST COMPANY       þ D
                                     NIAGARA FALLS, ON L2G 3K9                                                   LLC                      ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.175   Hornblower Canada Co.        5775 RIVER RD., UNIT 110                                                    GLAS TRUST COMPANY       þ D
                                     NIAGARA FALLS, ON L2G 3K9                                                   LLC                      ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.176   Hornblower Canada Co.        5775 RIVER RD., UNIT 110                                                    UBS AG, STAMFORD         þ D
                                     NIAGARA FALLS, ON L2G 3K9                                                   BRANCH                   ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.177   Hornblower Canada            5775 RIVER RD., UNIT 110                                                    ALTER DOMUS (US) LLC     þ D
        Entertainment Limited        NIAGARA FALLS, ON L2G 3K9                                                                            ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.178   Hornblower Canada            5775 RIVER RD., UNIT 110                                                    ALTER DOMUS (US) LLC     þ D
        Entertainment Limited        NIAGARA FALLS, ON L2G 3K9                                                                            ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.179   Hornblower Canada            5775 RIVER RD., UNIT 110                                                    GLAS TRUST COMPANY       þ D
        Entertainment Limited        NIAGARA FALLS, ON L2G 3K9                                                   LLC                      ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.180   Hornblower Canada            5775 RIVER RD., UNIT 110                                                    GLAS TRUST COMPANY       þ D
        Entertainment Limited        NIAGARA FALLS, ON L2G 3K9                                                   LLC                      ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.181   Hornblower Canada            5775 RIVER RD., UNIT 110                                                    UBS AG, STAMFORD         þ D
        Entertainment Limited        NIAGARA FALLS, ON L2G 3K9                                                   BRANCH                   ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.182   Hornblower Canadian          PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Holdings, Inc.               SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.183   Hornblower Canadian          PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Holdings, Inc.               SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.184   Hornblower Canadian          PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Holdings, Inc.               SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.185   Hornblower Canadian          PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Holdings, Inc.               SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.186   Hornblower Canadian          PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        Holdings, Inc.               SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.187   Hornblower Consulting,       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.188   Hornblower Consulting,       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.189   Hornblower Consulting,       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.190   Hornblower Consulting,       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G




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2.191   Hornblower Consulting,       PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.192   Hornblower Cruise            PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.193   Hornblower Cruise            PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.194   Hornblower Cruise            PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.195   Hornblower Cruise            PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.196   Hornblower Cruise            PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.197   Hornblower Cruises and       207 QUEENS QUAY W, STE. 425                                                 ALTER DOMUS (US) LLC     þ D
        Events Canada Limited        TORONTO, ON M5J 1A7                                                                                  ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.198   Hornblower Cruises and       207 QUEENS QUAY W, STE. 425                                                 ALTER DOMUS (US) LLC     þ D
        Events Canada Limited        TORONTO, ON M5J 1A7                                                                                  ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
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2.199   Hornblower Cruises and       207 QUEENS QUAY W, STE. 425                                                 GLAS TRUST COMPANY       þ D
        Events Canada Limited        TORONTO, ON M5J 1A7                                                         LLC                      ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.200   Hornblower Cruises and       207 QUEENS QUAY W, STE. 425                                                 GLAS TRUST COMPANY       þ D
        Events Canada Limited        TORONTO, ON M5J 1A7                                                         LLC                      ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.201   Hornblower Cruises and       207 QUEENS QUAY W, STE. 425                                                 UBS AG, STAMFORD         þ D
        Events Canada Limited        TORONTO, ON M5J 1A7                                                         BRANCH                   ¨ E/F
                                     CANADA
                                                                                                                                          ¨ G



2.202   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       ALTER DOMUS (US) LLC     þ D
        Events, Inc.                 CHICAGO, IL 60611                                                                                    ¨ E/F
                                                                                                                                          ¨ G



2.203   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       ALTER DOMUS (US) LLC     þ D
        Events, Inc.                 CHICAGO, IL 60611                                                                                    ¨ E/F
                                                                                                                                          ¨ G



2.204   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       DERMFX                   ¨ D
        Events, Inc.                 CHICAGO, IL 60611                                                                                    ¨ E/F
                                                                                                                                          þ G



2.205   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       GLAS TRUST COMPANY       þ D
        Events, Inc.                 CHICAGO, IL 60611                                                           LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.206   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       GLAS TRUST COMPANY       þ D
        Events, Inc.                 CHICAGO, IL 60611                                                           LLC                      ¨ E/F
                                                                                                                                          ¨ G




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2.207   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       UBS AG, STAMFORD         þ D
        Events, Inc.                 CHICAGO, IL 60611                                                           BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.208   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       ALTER DOMUS (US) LLC     þ D
        Events, LLC                  CHICAGO, IL 60611                                                                                    ¨ E/F
                                                                                                                                          ¨ G



2.209   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       ALTER DOMUS (US) LLC     þ D
        Events, LLC                  CHICAGO, IL 60611                                                                                    ¨ E/F
                                                                                                                                          ¨ G



2.210   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       GLAS TRUST COMPANY       þ D
        Events, LLC                  CHICAGO, IL 60611                                                           LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.211   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       GLAS TRUST COMPANY       þ D
        Events, LLC                  CHICAGO, IL 60611                                                           LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.212   Hornblower Cruises and       455 N. CITYFRONT PLAZA DR., STE. 2600                                       UBS AG, STAMFORD         þ D
        Events, LLC                  CHICAGO, IL 60611                                                           BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.213   Hornblower Development, PIER 3, THE EMBARCADERO                                                          ALTER DOMUS (US) LLC     þ D
        LLC                     SAN FRANCISCO, CA 94111                                                                                   ¨ E/F
                                                                                                                                          ¨ G



2.214   Hornblower Development, PIER 3, THE EMBARCADERO                                                          ALTER DOMUS (US) LLC     þ D
        LLC                     SAN FRANCISCO, CA 94111                                                                                   ¨ E/F
                                                                                                                                          ¨ G




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2.215   Hornblower Development, PIER 3, THE EMBARCADERO                                                          GLAS TRUST COMPANY       þ D
        LLC                     SAN FRANCISCO, CA 94111                                                          LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.216   Hornblower Development, PIER 3, THE EMBARCADERO                                                          GLAS TRUST COMPANY       þ D
        LLC                     SAN FRANCISCO, CA 94111                                                          LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.217   Hornblower Development, PIER 3, THE EMBARCADERO                                                          UBS AG, STAMFORD         þ D
        LLC                     SAN FRANCISCO, CA 94111                                                          BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.218   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.219   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.220   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.221   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.222   Hornblower Energy, LLC       PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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2.223   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.224   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.225   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.226   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.227   Hornblower Facility          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.228   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                           ¨ G



2.229   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                           ¨ G



2.230   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                           ¨ G




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2.231   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                        GLAS TRUST COMPANY       þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.232   Hornblower Ferry Holdings PIER 3, THE EMBARCADERO                                                        UBS AG, STAMFORD         þ D
        II, LLC                   SAN FRANCISCO, CA 94111                                                        BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.233   Hornblower Ferry             PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.234   Hornblower Ferry             PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.235   Hornblower Ferry             PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.236   Hornblower Ferry             PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.237   Hornblower Ferry             PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.238   Hornblower Fleet, LLC        PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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2.239   Hornblower Fleet, LLC        PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.240   Hornblower Fleet, LLC        PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.241   Hornblower Fleet, LLC        PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.242   Hornblower Fleet, LLC        PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.243   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          ALTER DOMUS (US) LLC     þ D
                                SAN FRANCISCO, CA 94111                                                                                   ¨ E/F
                                                                                                                                          ¨ G



2.244   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          ALTER DOMUS (US) LLC     þ D
                                SAN FRANCISCO, CA 94111                                                                                   ¨ E/F
                                                                                                                                          ¨ G



2.245   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          GLAS TRUST COMPANY       þ D
                                SAN FRANCISCO, CA 94111                                                          LLC                      ¨ E/F
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2.246   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          GLAS TRUST COMPANY       þ D
                                SAN FRANCISCO, CA 94111                                                          LLC                      ¨ E/F
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2.247   Hornblower Freedom, LLC PIER 3, THE EMBARCADERO                                                          UBS AG, STAMFORD         þ D
                                SAN FRANCISCO, CA 94111                                                          BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.248   Hornblower Group, Inc.       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.249   Hornblower Group, Inc.       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.250   Hornblower Group, Inc.       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.251   Hornblower Group, Inc.       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.252   Hornblower Group, Inc.       PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.253   Hornblower Holdco, LLC       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.254   Hornblower Holdco, LLC       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
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2.255   Hornblower Holdco, LLC       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.256   Hornblower Holdco, LLC       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.257   Hornblower Holdco, LLC       PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.258   Hornblower Hospitality       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.259   Hornblower Hospitality       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.260   Hornblower Hospitality       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.261   Hornblower Hospitality       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.262   Hornblower Hospitality       PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        Services, LLC                SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
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2.263   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.264   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.265   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.266   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.267   Hornblower India Holdings, PIER 3, THE EMBARCADERO                                                       UBS AG, STAMFORD         þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.268   Hornblower Metro Ferry,      PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.269   Hornblower Metro Ferry,      PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
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2.270   Hornblower Metro Ferry,      PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
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                                                                                                                                          that apply:

2.271   Hornblower Metro Ferry,      PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.272   Hornblower Metro Ferry,      PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.273   Hornblower Metro Fleet,      PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.274   Hornblower Metro Fleet,      PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.275   Hornblower Metro Fleet,      PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.276   Hornblower Metro Fleet,      PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.277   Hornblower Metro Fleet,      PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.278   Hornblower Metro             PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.279   Hornblower Metro             PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.280   Hornblower Metro             PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.281   Hornblower Metro             PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.282   Hornblower Metro             PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        Holdings, LLC                SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.283   Hornblower Municipal         PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.284   Hornblower Municipal         PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.285   Hornblower Municipal         PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.286   Hornblower Municipal         PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.287   Hornblower Municipal         PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        Operations, LLC              SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.288   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.289   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.290   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.291   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.292   Hornblower New York, LLC PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
                                 SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.293   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.294   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
                                 SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.295   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.296   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
                                 SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.297   Hornblower Shipyard, LLC PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
                                 SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.298   Hornblower Sub, LLC          PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.299   Hornblower Sub, LLC          PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.300   Hornblower Sub, LLC          PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.301   Hornblower Sub, LLC          PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.302   Hornblower Sub, LLC          PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.303   Hornblower UK Holdings       CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    ALTER DOMUS (US) LLC     þ D
        Limited                      ROTHERHITHE                                                                                          ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



2.304   Hornblower UK Holdings       CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    ALTER DOMUS (US) LLC     þ D
        Limited                      ROTHERHITHE                                                                                          ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



2.305   Hornblower UK Holdings       CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    GLAS TRUST COMPANY       þ D
        Limited                      ROTHERHITHE                                                                 LLC                      ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



2.306   Hornblower UK Holdings       CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    GLAS TRUST COMPANY       þ D
        Limited                      ROTHERHITHE                                                                 LLC                      ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



2.307   Hornblower UK Holdings       CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    UBS AG, STAMFORD         þ D
        Limited                      ROTHERHITHE                                                                 BRANCH                   ¨ E/F
                                     LONDON, SE16 4TU
                                     UNITED KINGDOM                                                                                       ¨ G



2.308   JJ Audubon, LLC              PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.309   JJ Audubon, LLC              PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.310   JJ Audubon, LLC              PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.311   JJ Audubon, LLC              PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.312   JJ Audubon, LLC              PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.313   Journey Beyond Holdings, PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        LLC                      SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.314   Journey Beyond Holdings, PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        LLC                      SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.315   Journey Beyond Holdings, PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        LLC                      SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.316   Journey Beyond Holdings, PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        LLC                      SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.317   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.318   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.319   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.320   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.321   Liberty Cruises, LLC         PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.322   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.323   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.324   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.325   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.326   Liberty Fleet, LLC           PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G




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   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.327   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.328   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.329   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.330   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.331   Liberty Hospitality, LLC     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.332   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.333   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.334   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G




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   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
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            Name                       Mailing address                                                               Name                  Check all schedules
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2.335   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.336   Liberty Landing Ferries,     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.337   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                           ¨ G



2.338   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         ALTER DOMUS (US) LLC     þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                                                  ¨ E/F
                                                                                                                                           ¨ G



2.339   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.340   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         GLAS TRUST COMPANY       þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                         LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.341   Mission Bay Water Transit PIER 3, THE EMBARCADERO                                                         UBS AG, STAMFORD         þ D
        Fleet, LLC                SAN FRANCISCO, CA 94111                                                         BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.342   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                        ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                 ¨ E/F
                                                                                                                                           ¨ G




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   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
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            Name                      Mailing address                                                               Name                  Check all schedules
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2.343   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       ALTER DOMUS (US) LLC     þ D
        LLC                        SAN FRANCISCO, CA 94111                                                                                ¨ E/F
                                                                                                                                          ¨ G



2.344   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.345   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       GLAS TRUST COMPANY       þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.346   Mission Bay Water Transit, PIER 3, THE EMBARCADERO                                                       UBS AG, STAMFORD         þ D
        LLC                        SAN FRANCISCO, CA 94111                                                       BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.347   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        ALTER DOMUS (US) LLC     þ D
                                  SAN FRANCISCO, CA 94111                                                                                 ¨ E/F
                                                                                                                                          ¨ G



2.348   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        ALTER DOMUS (US) LLC     þ D
                                  SAN FRANCISCO, CA 94111                                                                                 ¨ E/F
                                                                                                                                          ¨ G



2.349   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        GLAS TRUST COMPANY       þ D
                                  SAN FRANCISCO, CA 94111                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.350   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        GLAS TRUST COMPANY       þ D
                                  SAN FRANCISCO, CA 94111                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.351   Niagara Jet Holdings, LLC PIER 3, THE EMBARCADERO                                                        UBS AG, STAMFORD         þ D
                                  SAN FRANCISCO, CA 94111                                                        BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.352   San Francisco Pier 33,       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.353   San Francisco Pier 33,       PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.354   San Francisco Pier 33,       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.355   San Francisco Pier 33,       PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.356   San Francisco Pier 33,       PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.357   SEA Operating Company, 2400 E. COMMERCIAL BLVD., STE. 1200                                               ALTER DOMUS (US) LLC     þ D
        LLC                    FORT LAUDERDALE, FL 33308                                                                                  ¨ E/F
                                                                                                                                          ¨ G



2.358   SEA Operating Company, 2400 E. COMMERCIAL BLVD., STE. 1200                                               ALTER DOMUS (US) LLC     þ D
        LLC                    FORT LAUDERDALE, FL 33308                                                                                  ¨ E/F
                                                                                                                                          ¨ G




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            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.359   SEA Operating Company, 2400 E. COMMERCIAL BLVD., STE. 1200                                               GLAS TRUST COMPANY       þ D
        LLC                    FORT LAUDERDALE, FL 33308                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.360   SEA Operating Company, 2400 E. COMMERCIAL BLVD., STE. 1200                                               GLAS TRUST COMPANY       þ D
        LLC                    FORT LAUDERDALE, FL 33308                                                         LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.361   SEA Operating Company, 2400 E. COMMERCIAL BLVD., STE. 1200                                               UBS AG, STAMFORD         þ D
        LLC                    FORT LAUDERDALE, FL 33308                                                         BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.362   Seaward Services, Inc.       203 W. 1ST STREET, SUITE A                                                  ALTER DOMUS (US) LLC     þ D
                                     NEW ALBANY, IN 47150                                                                                 ¨ E/F
                                                                                                                                          ¨ G



2.363   Seaward Services, Inc.       203 W. 1ST STREET, SUITE A                                                  ALTER DOMUS (US) LLC     þ D
                                     NEW ALBANY, IN 47150                                                                                 ¨ E/F
                                                                                                                                          ¨ G



2.364   Seaward Services, Inc.       203 W. 1ST STREET, SUITE A                                                  GLAS TRUST COMPANY       þ D
                                     NEW ALBANY, IN 47150                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.365   Seaward Services, Inc.       203 W. 1ST STREET, SUITE A                                                  GLAS TRUST COMPANY       þ D
                                     NEW ALBANY, IN 47150                                                        LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.366   Seaward Services, Inc.       203 W. 1ST STREET, SUITE A                                                  UBS AG, STAMFORD         þ D
                                     NEW ALBANY, IN 47150                                                        BRANCH                   ¨ E/F
                                                                                                                                          ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                                 Page 46 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 145 of 154
   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.367   Statue Cruises, LLC          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.368   Statue Cruises, LLC          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.369   Statue Cruises, LLC          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.370   Statue Cruises, LLC          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.371   Statue Cruises, LLC          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.372   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.373   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.374   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                 Page 47 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 146 of 154
   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

               Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.375   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.376   Statue of Liberty IV, LLC    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.377   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.378   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.379   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.380   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.381   Statue of Liberty V, LLC     PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.382   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                 Page 48 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 147 of 154
   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.383   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.384   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.385   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.386   Statue of Liberty VI, LLC    PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.387   TCB Consulting, LLC          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.388   TCB Consulting, LLC          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.389   TCB Consulting, LLC          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.390   TCB Consulting, LLC          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                 Page 49 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 148 of 154
   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.391   TCB Consulting, LLC          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.392   Venture Ashore, LLC          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.393   Venture Ashore, LLC          PIER 3, THE EMBARCADERO                                                      ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                               ¨ E/F
                                                                                                                                           ¨ G



2.394   Venture Ashore, LLC          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.395   Venture Ashore, LLC          PIER 3, THE EMBARCADERO                                                      GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                      LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.396   Venture Ashore, LLC          PIER 3, THE EMBARCADERO                                                      UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                      BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.397   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



2.398   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                 Page 50 of 55
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   Debtor   Hornblower Yachts, LLC                                                               Case number (If known):   24-90096 (MI)
            Name


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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name                  Check all schedules
                                                                                                                                           that apply:

2.399   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.400   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.401   Victory Holdings I, LLC      2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
                                     FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                           ¨ G



2.402   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



2.403   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          ALTER DOMUS (US) LLC     þ D
                                     FORT LAUDERDALE, FL 33308                                                                             ¨ E/F
                                                                                                                                           ¨ G



2.404   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.405   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          GLAS TRUST COMPANY       þ D
                                     FORT LAUDERDALE, FL 33308                                                    LLC                      ¨ E/F
                                                                                                                                           ¨ G



2.406   Victory Holdings II, LLC     2400 E. COMMERCIAL BLVD., STE. 1200                                          UBS AG, STAMFORD         þ D
                                     FORT LAUDERDALE, FL 33308                                                    BRANCH                   ¨ E/F
                                                                                                                                           ¨ G




Official Form 206H                                                     Schedule H: Codebtors                                                 Page 51 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 150 of 154
   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.407   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
                                                                                                                                          ¨ G



2.408   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                         ALTER DOMUS (US) LLC     þ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                                            ¨ E/F
                                                                                                                                          ¨ G



2.409   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.410   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                         GLAS TRUST COMPANY       þ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                   LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.411   Victory Operating            2400 E. COMMERCIAL BLVD., STE. 1200                                         UBS AG, STAMFORD         þ D
        Company, LLC                 FORT LAUDERDALE, FL 33308                                                   BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.412   Walks of New York Tours,     PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.413   Walks of New York Tours,     PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
        LLC                          SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.414   Walks of New York Tours,     PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                                 Page 52 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 151 of 154
   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.415   Walks of New York Tours,     PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.416   Walks of New York Tours,     PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
        LLC                          SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.417   Walks, LLC (Delaware)        PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.418   Walks, LLC (Delaware)        PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.419   Walks, LLC (Delaware)        PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.420   Walks, LLC (Delaware)        PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.421   Walks, LLC (Delaware)        PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.422   Walks, LLC (Texas)           PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                                 Page 53 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 152 of 154
   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.423   Walks, LLC (Texas)           PIER 3, THE EMBARCADERO                                                     ALTER DOMUS (US) LLC     þ D
                                     SAN FRANCISCO, CA 94111                                                                              ¨ E/F
                                                                                                                                          ¨ G



2.424   Walks, LLC (Texas)           PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.425   Walks, LLC (Texas)           PIER 3, THE EMBARCADERO                                                     GLAS TRUST COMPANY       þ D
                                     SAN FRANCISCO, CA 94111                                                     LLC                      ¨ E/F
                                                                                                                                          ¨ G



2.426   Walks, LLC (Texas)           PIER 3, THE EMBARCADERO                                                     UBS AG, STAMFORD         þ D
                                     SAN FRANCISCO, CA 94111                                                     BRANCH                   ¨ E/F
                                                                                                                                          ¨ G



2.427   Yardarm Club (The)           CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    ALTER DOMUS (US) LLC     þ D
        Limited                      LONDON, SE16 4TU                                                                                     ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.428   Yardarm Club (The)           CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    ALTER DOMUS (US) LLC     þ D
        Limited                      LONDON, SE16 4TU                                                                                     ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.429   Yardarm Club (The)           CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    GLAS TRUST COMPANY       þ D
        Limited                      LONDON, SE16 4TU                                                            LLC                      ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.430   Yardarm Club (The)           CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    GLAS TRUST COMPANY       þ D
        Limited                      LONDON, SE16 4TU                                                            LLC                      ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                                 Page 54 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 153 of 154
   Debtor   Hornblower Yachts, LLC                                                              Case number (If known):   24-90096 (MI)
            Name


             Additional Page if Debtor Has More Codebtors

              Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                  Check all schedules
                                                                                                                                          that apply:

2.431   Yardarm Club (The)           CHERRY GARDEN PIER, CHERRY GARDEN STREET                                    UBS AG, STAMFORD         þ D
        Limited                      LONDON, SE16 4TU                                                            BRANCH                   ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.432   York River Boat Cruises      BERMONDSEY WALL EAST                                                        ALTER DOMUS (US) LLC     þ D
        Limited                      LONDON, SE16 4TU                                                                                     ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.433   York River Boat Cruises      BERMONDSEY WALL EAST                                                        ALTER DOMUS (US) LLC     þ D
        Limited                      LONDON, SE16 4TU                                                                                     ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.434   York River Boat Cruises      BERMONDSEY WALL EAST                                                        GLAS TRUST COMPANY       þ D
        Limited                      LONDON, SE16 4TU                                                            LLC                      ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.435   York River Boat Cruises      BERMONDSEY WALL EAST                                                        GLAS TRUST COMPANY       þ D
        Limited                      LONDON, SE16 4TU                                                            LLC                      ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.436   York River Boat Cruises      BERMONDSEY WALL EAST                                                        UBS AG, STAMFORD         þ D
        Limited                      LONDON, SE16 4TU                                                            BRANCH                   ¨ E/F
                                     UNITED KINGDOM
                                                                                                                                          ¨ G



2.437                                                                                                                                     ¨ D
                                                                                                                                          ¨ E/F
                                                                                                                                          ¨ G



2.438                                                                                                                                     ¨ D
                                                                                                                                          ¨ E/F
                                                                                                                                          ¨ G




Official Form 206H                                                    Schedule H: Codebtors                                                 Page 55 of 55
                     Case 24-90061 Document 817 Filed in TXSB on 04/23/24 Page 154 of 154
  Fill in this information to identify the case and this filing:


   Debtor name Hornblower Yachts, LLC


   United States Bankruptcy Court for the: Southern District of Texas, Houston Division

   Case number (If known) 24-90096 (MI)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        þ Amended Schedule G
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 4/19/2024                                         X /s/ Jonathan Hickman
                       MM / DD / YYYY                                    Signature of individual signing on behalf of debtor



                                                                         Jonathan Hickman
                                                                         Printed name

                                                                         Chief Restructuring Officer
                                                                         Position or relationship to debtor




   Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
